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                                                             RIUI!
1    Tri Huynh - Pro Se Plaintiff
                                                                                 FILED
     4015 134th Ave SE
2    Bellevue, WA 98006                                                         JAN 10 2022
     Telephone: (408) 757-5516
 3   E-mail: trimhuynh@outlook.com                                       CLERK, U.S. DISiAICT COURT
                                                                        NORTH l'.'ll�iR!CT tir- /:l;:\hlFORNIA
4
                             UNITED STATES DISTRICT COURT
5                          NORTHERN DISTRICT OF CALIFORNIA                                             JS
 6
 7   TRI MINH HUYNH,                                 Case No:C     v   2 2

 8   Plaintiff,
                          V.                          COMPLAINT FOR DAMAGES FOR:
 9
     Walmart, INC., a Delaware Corporation;          1.   Violations of the Racketeer Influ­
10   WAL-MART.COM USA LLC, a California                   enced and Corrupt Organizations
                                                          Act (18 U.S.C. § 1962(c));
     Limited Liability Corporation; Doug McMil­
11
     lan; Brett Biggs; Marc Lore; Rachel Brand,      2.   Violations of the Racketeer Influ­
12   Greg01y B. Penner; Timothy P. Flynn; S.              enced and Conupt Organizations
                                                          Act (18 U.S.C. § 1962(d));
     Robson Walton; Seth Beal; Valerie Ricetti;
13                                                                                                               OJ
14
     Audrey Au Joulani; Melvenia Ha; GIBSON,
     DUNN & CRUTCHER LLP a Limited Lia­
                                                     3.

                                                     4.
                                                          Bivens Actions;

                                                          Violations of 42 U.S.C. §
                                                                                                                 -<
     bility Partnership; Theodore J. Boutrous Jr.;                                                               i1
                                                          1985(3);
15
     Rachel S. Brass; Eugene Scalia; Ryan Carl­                                                                  )>
16   ton Stewart; Chris Wilson; Susanna G.           5.   Violations 42 U.S.C. § 1986;
     Schuemann; Mark Marchione; William H.           6.   Abuse of Process;
17
     Thompson; The deRubertis Law Fi1m, APC
18   is a Professional Law; David deRubertis;        7.   Invasion of Privacy;
     Kari deRubertis; Epig Global, a privately       8.   Fraud;
19
     own Corporation; Douglas Kasales; Kathy
20   von Lindem; Lighthouse Global a privately       9.   Civil Conspiracy
     own Corporation; Renee Quezada ; Onick
21
     Henington & Sutcliffe LLP a Limited Lia­              JURY TRIAL DEMANDED
22   bility Partnership; Payne & Fears LLP a
     Limited Liability Partnership; Bank of
23
     America Corporation, a Delaware Corpora­
24   tion; Robert F. Ohmes; Matthew Boyle; and
     DOES 1 through 20.
25
     Defendant(s).
26
27
28

                               COMPLAINT - DEMAND FOR JURY TRIAL
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1                                               INTRODUCTION
2
             "Power Tends to Con11pt and Absolute Power Con11pts Absolutely" Lord Acton.
 3
4            1.     This case is about the arrogance of power, and the institutionalization of a cul-

 5   ture of greed, dishonesty, and ethical blindness by Walmart's senior executives to defraud in­

6    vestors to the tune of $140 Bil then acted criminally in an attempt to cover it up.
 7
 8           2.     This case is not about the fact that Walmart ripped off their shareholders to the
 9   tune of $140 Billion (that is for Walmart's shareholders to take legal actions against Walmart
10
     and their executives to make their injuries whole). Rather this case is about how the Walmart
11
     Participants formed an association in fact enterprise (The Walmart Shareholder Fraud Cov­
12
     erup Enterprise) with the other RICO Defendants to design and execute a wicked, insidious,
13

14   and nefarious six-pronged illegal coverup scheme to achieve the RICO Enterprise's common

15   purpose of covering up Walmart massive shareholder fraud and ensures a risk free civil and

16   criminal liabilities future for all of the members of the Enterprise.
17
18           3.     The paragraphs below discussed in details how the RICO Defendants commit-
19   ted numerous predicate acts and overt acts to effectuate the criminal enterprise's common pur­
20
     pose and, in the process, the RICO Defendants caused injuries to Huynh's properties, personal
21
     and professional reputation which gave rise to the nine causes of actions asserted in this litiga­
22
     tion.
23
24
             4.     In this complaint, DC Dkt refen-ed to the United States District Court, North-
25
     ern District of California Docket for the case Tri Huynh Plaintiff(s) v. WAL-MART
26

27   STORES, INC., et al. Case 3:18-cv-01631-VC.

28
                                               2
                              COMPLAINT - DEMAND FOR JURY TRIAL
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 1          5.      In this complaint, COA Dkt refened to the United States Court of Appeals for
 2   the Ninth Circuit Docket for the case TRI MINH HUYNH, Plaintiff-Appellant, v. WAL­
 3
     MART STORES, INC., WAL-MART ASSOCIATES, INC., and WAL-MART.COM, INC.
 4
     Case: 20-15211.
 5
 6
                                                THE PARTIES
 7
 8
     PLAINTIFF
 9

10          6.      Plaintiff Tri Minh Huynh is a citizen of the United States and citizen of the

11   State of Washington. Huynh currently resides in King County - Bellevue, Washington.
12
13   RICO DEFENDANTS

14
            7.      Walmart, INC., a Delaware Corporation, headquartered at 702 S.W. 8th Street,
15
     Bentonville AR; WAL-MART.COM USA LLC, a California Limited Liability Corporation,
16
     headquartered at 850 Chen-y Avenue, San Bruno, CA. WAL-MART.COM USA LLC is a
17
18   wholly-owned subsidiaries ofWalmart, INC. (collectively, "Walmart"). Walmart is being

19   sued for the conducts of its employees, board of directors, and agents.
20
            8.      Defendant Doug McMillan ("McMillan") is an individual residing in Benton-
21

22   ville, Arkansas. McMillan is being sued in his official and individual capacity.

23
            9.      Defendant Brett Biggs ("Biggs") is an individual residing in Bentonville, Ar-
24
     kansas. Biggs is being sued in his official and individual capacity.
25
26
            10.     Defendant Marc Lore ("Lore") is an indiv�dual residing in New York City,
27
     New York. Lore is being sued in his official and individual capacity.
28
                                              3
                             COMPLAINT - DEMAND FOR JURY TRIAL
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 1          11.     Defendant Rachel Brand ("Brand") is an individual residing in Bentonville,
 2   Arkansas. Brand is being sued in her official and individual capacity
 3

 4          12.     Defendant Gregory B. Penner ("Penner") is an individual residing in Menlo

 5   Park, California. Penner is being sued in official capacity.
 6
            13.     Defendant Timothy P. Flynn ("Flynn") is an individual residing in Marana, Ar-
 7
 8   izona. Flynn is being sued in his official capacity.

 9
            14.     Defendant S. Robson Walton ("Walton") is an individual residing in Benton-
10
     ville, Arkansas. Walton is being sued in his official capacity.
11
12
            15.     Defendant Seth Beal ("Beal") is an individual residing in Park City, Utah. Beal
13
     is being sued in his individual capacity.
14
15           16.    Defendant Valerie Ricetti ("Ricetti") is an individual residing in San Francisco,
16   California. Ricetti is being sued in her individual capacity.
17

18          17.      Defendant Audrey Au Joulani ("Joulani") is an individual residing in Santa

19   Monica, California. Joulani is being sued in her individual capacity.
20
            18.     Defendant Melvenia Ha ("Ha") is an individual residing in Daly City, Califor-
21

22   nia. Melvenia is being sued in her individual capacity.

23
            19.     Defendant GIBSON, DUNN & CRUTCHER LLP is a Limited Liability Pait-
24
     nership located at 333 South Grand Avenue, Los Angeles, CA 90071-3197. Gibson Dunn
25
26   Crntcher is being sue for the conducts of its employees and agents.

27
            20.     Defendant Theodore J. Boutrous Jr. ("Boutrous ") is an individual licensed to
28
                                              4
                             COMPLAINT - DEMAND FOR JURY TRIAL
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 1   practice law in the State of California under State Bar No. 132099. Boutrous is an individual
 2   residing in Los Angeles, California. Boutrous is being sued in his official and individual ca­
 3
     pacity.
 4
 5             21.   Defendant Rachel S. Brass ("Brass ") is an individual licensed to practice law
 6   in the State of California under State Bar No. 219301. Brass is an individual residing in San
 7
     Francisco, California. Brass is being sued in her official and individual capacity.
 8

 9             22.   Defendant Eugene Scalia ("Scalia ") is an individual licensed to practice law in

10   the State of California under State Bar No. 151540. Scalia is an individual residing in Mc
11
     Lean, Virginia. Scalia is being sued in his official and individual capacity.
12
13             23.   Defendant Ryan Carlton Stewart ("Stewart") is an individual licensed to prac-

14   tice law in the District of Columbia. Stewart is an individual believe to be residing in the Dis­
15   trict of Columbia. Stewart is being sued in his official and individual capacity.
16
17             24.   Defendant Chris Wilson ("Wilson") is an individual licensed to practice law in

18   the District of Columbia. Wilson is an individual believed to be residing in the District of Co­
19   lumbia. Wilson is being sued in his official and individual capacity.
20
21             25.   Defendant Susanna G. Schuemann ("Schuemann ") is an individual licensed to

22   practice law in the State of California under State Bar No. 332956. Schuemann is an individ­
23   ual residing in San Francisco, California. Schuemann is being sued in her official and indi­
24
     vidual capacity.
25

26             26.   Defendant Mark Marchione ("Marchione") is an individual residing Bakers-

27   field, California. Marchione is being sued in his individual capacity.
28
                                              5
                             COMPLAINT - DEMAND FOR JURY TRIAL
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1           27.     Defendant William H. Thompson ("Thompson") is an individual believed to be
2    residing the District of Columbia. Thompson is being sued in his individual capacity.
3
4           28.     Defendant The deRube1iis Law Finn, APC is a Professional Law Corporation

5    located at 4219 Coldwater Canyon Ave, Studio City, CA 91604-1934 The deRube1iis Law

6    Firm, APC. The deRubertis Law Finn, APC. is being sued for the conducts of its employees
 7
     and agents.
 8

 9          29.     Defendant David deRubertis ("deRubertis ") is an individual licensed to prac-

10   tice law in the State of California under State Bar No. 208709. deRubertis is an individual re­
11
     siding in Studio City, California. deRubertis is being sued in his official and individual capac­
12
     ity.
13
14          30.     Defendant Kari deRubertis ("Kari deRubertis ") is an individual residing in
15   Studio City, California. Kari deRubertis being sued in her individual capacity.
16
17          31.     Defendant Epig Global is a privately own company locate at 777 3rd Ave, 12th

18   Floor, New York, New York 10017. Epig Global is being sued for the conducts of its employ­
19   ees and agents.
20

21          32.     Defendant Douglas Kasales ("Kasales "). Kasales is an individual believed to

22   be residing in Henderson, Nevada. Kasales is being sued in his official and individual capac-

23   ity.
24
25          33.     Defendant Kathy von Lindem ("Lindern "). Lindem is an individual residing in

26   Hermosa Beach, California. Lindern is being sued in her official and individual capacity.

27
            34.     Defendant Lighthouse Global is a privately own Corporation Head Quarter at
28
                                              6
                             COMPLAINT - DEMAND FOR JURY TRIAL
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 1   51 University Street, Suite 400, Seattle, WA 98101. Lighthouse Global is being sued for the
 2   conducts of its employees and agents.
 3
 4          35.     Defendant Renee Quezada ("Quezada") is an individual residing Bakersfield,

 5   California. Quezada is being sued in her official and individual capacity.
 6
            36.     Defendant Onick Henington & Sutcliffe LLP is a Limited Liability Partner-
 7

 8   ship located at 405 Howard Street San Francisco, CA. Orrick Herrington & Sutcliffe LLP is

 9   being sued for the conducts of its employees and agents.

10
            37.      Defendant Payne & Fears LLP is a Limited Liability Partnership located at 4
11
12   Park Plaza, Suite 1100 Irvine, CA 92614. Payne & Fears LLP is being sued for the conducts

13   of its employees and agents.

14
            38.     Bank of America Corporation, a Delaware Corporation, headquartered at 100
15
     N. Tryon Street Charlotte, North Carolina 28255. Bank of America Corporation is being sued
16
17   for the conducts of its employees and agents.

18
            39.     Defendant Robert F. Ohmes ("Ohmes") is an individual believed to be residing
19
     in the State of New York. Ohmes is being sued in his official and individual capacity.
20

21
            40.     Defendant Matthew Boyle ("Boyle") is an individual believed to be residing in
22
     the State of New York. Boyle is being sued in his individual capacity
23
24          41.     Defendants designated as DOE 1-20 is intentionally and otherwise responsible
25
     in some manner for the events and happenings herein referred to, and thereby proximately
26
     caused injuries and damages as herein alleged. The true names and capacities of DOES 1
27
     through 20, inclusive, and each of them, are not now known to Plaintiff who therefore sues
28
                                              7
                             COMPLAINT - DEMAND FOR JURY TRIAL
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1    said Defendants by such fictitious names. Plaintiff will amend this Complaint in accordance
2    with FRCP 15 and California Code of Civil Procedure Section 474 to show their true names
3
     and capacities when same have been ascertained.
4
5                                    Subject Matter Jurisdiction and Venue
6
             42.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § § 1331 be-
 7
 8   cause this action arises under the laws of the United States, and 18 U.S.C. § 1964(c), because

 9   this action alleges violations of the Racketeer Influenced Corrupt Organizations Act

10   ("RICO"), 18 U.S.C. § 1962.
11
12           43.     Huynh's state law claims arise out of the same case or controversy as its federal

13   law claims, as all claims in this action arise out of a common nucleus of operative facts. Thus,

14   this Court also has supplemental jurisdiction over Huynh's state law claims under 28 U.S.C. §
15   1367.
16
17           44.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2), as a substantial

18   number of the events giving rise to this action occurred in this District, and/or a substantial
19   part of property that is the subject of the action is situated in the District.
20

21
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                                               8
                              COMPLAINT - DEMAND FOR JURY TRIAL
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1                                         Statement of Facts
2
             45.    Huynh raised his complaints internally to Walmart's senior executives in late
 3
4    2016 and early 2017 that he believes Walmart may have violated the laws by overcharging

5    Marketplace seller commission fees and by making misleading statements to investors and in­
 6   vestment analysts regarding the states of Walma1i's Marketplace. Walmart immediately ter­
 7
     minated Huynh's employment without conducting a thorough investigation into his concerns.
 8
     So, after leaving Walmart, Huynh retained Sean McKessy and Rebecca Chang at Phillips &
 9
     Cohen LLP in Mar 2017 to help bring his concerns directly to the SEC. Huynh submitted a
10
11   TCR complaint to the SEC Office of the Whistleblower (https://www.sec.gov/whistle­

12   blower/submit-a-tip) at the end of April 2017. During the next one and half years Huynh and

13   his counsels submitted hundreds of pages of documents (including emails akin to smoking
14   gun evidence that linked Walmart's senior executives to intentional fraud and misrepresenta-
15
     tions. See COA Dkt. 5-1 at 6-13; Dkt. 5-4 at 20-37, 58-109; Dkt. 16 at 45-49 and 63-64; Dkt.
16
     33 at 8-12. and 33) as well as original analyses that support Huynh's allegations that Walmart
17
     committed fraud against shareholders.
18
19
        l.    Exhibit I: An Outside in Analysis of Walmart's Shareholder Fraud (not submitted to
20            the SEC)

21     11.    Exhibit II: June 19, 2017 SEC Submission

22    111.    Exhibit III: January 18, 2018 SEC Submission
23           a. It specifically showed that to the SEC that Jet.com annual GMV run rate for
                FYI 7 was roughly $600 Mil not $1,2000 Million.
24
25    lV.     COA Dkt. 5-4 at 75-94: May 15, 2018 SEC Submission

26            a. Walmart's executives pressured the Walmart's Marketplace Catalog with Qual­
                 ity and/or Low value SK.Us to inflate the total number of Marketplace SKU re­
27               ported to investors and analysts in FYI 7.
28            b. McMillan overstated the total number of Marketplace SK Us on Walma1i.com by
                                                   9
                          COMPLAINT - DEMAND FOR JURY TRIAL
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 1                4.1 Mil SK.Us during the Q2 FYI 7 earnings calls
 2     V.     COA Dkt. 5-4 at 85-103: September 19, 2018 SEC Submission
 3            a. McMillan inflated the total number of Marketplace SK.Us on Walmart.com by
 4               classifying Walmart's IP SK.Us (Walmart's own products) as Walmart's Mar­
                 ketplace SK.Us.
 5
            46.     In Mar 2017, Huynh began searching for Plaintiff employment attorneys to
 6
     represent him in his SOX claim against Walmart. Huynh had conversations with multiple
 7
     Plaintiff employment lawyers. Subsequently, Huynh received contingency retainer agreement
 8

 9   offers from seven law firms (including the deRubertis Law Fi1m) who wanted to represent

10   him in his civil lawsuit against Walmart.
11
            47.     In late Mar 2017, Huynh had multiple phone conversations with deRubertis to
12

13   discuss his case against Walmart. Subsequently, deRubertis invited Huynh to meet with deRu­

14   bertis in person at his office in Studio City, CA in early April 2017. At the meeting, Huynh
15   informed deRubertis that he has also been working with Sean McKessy at Phillips & Cohen to
16
     submit Huynh's complaint to the SEC to report Walmart's illegal conducts by the end of April
17
     2017. deRubertis became visibly excited about this news because deRubertis realized that he
18
     just stumbled on a goldmine based on the seriousness of Huynh's allegations and the risks that
19
20   Walmart could face if the SEC and/or the DOJ successfully investigated into Walmart's ille­

21   gal conducts. Huynh estimated the bounty that the Walma1i Participants were willing to offer

22   to the other members of the Walmart Shareholder Fraud (WSF) Coverup Enterprise if they ef­
23   fectuated the Enterprise's illegal coverup scheme could be as high as one Billion dollars.
24
25          48.     Based on the time line below, Huynh believed that sometime between Apr 4

26   and Apr 13, deRube1iis contacted the Rescue Squad (the Gibson Dunn's team that represented
27   Walmart in Huynh's civil and SEC matters) and the Walmart Participants to inform them that
28
                                              10
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1    Huynh was about to submit serious allegations of shareholder fraud against Walmart to the
2    SEC. Subsequently, staiting on Apr 13, 2017, deRubertis began to ask Huynh and McKessy
3
     for confidential and non-public info1mation Huynh had submitted to the SEC. Huynh now re­
4
     alized that deRubertis' behaviors was abnormally weird because a typical Plaintiff employ­
5
     ment lawyer would not ask for specific communications Huynh had with SEC, especially
6
7
           Tri . / forget whether rhe SEC
8          submission asks about any Internal              Hi Tri - Just wanted to
           reports or complaints. That Issue                et you know that Sean
 9         overlaps with our case. In retrospect I         and I spoke. Sean
           actually think it's better that I review the    wll/ forward me the
10         SEC filing before you file it to make sure it   complaint he Intends
           is consistentwit/1 the issues that overlap      to ff/e for you today.                            almart's senior
11         on your individual case. Can you check          I will review it today to David deRubertis      executives began
           with the SEC lawyers and make sure                1ake sure looks ok      purportedly filed a     hitewashiiig
12
           they are OK with that realizing It's            and then will be back      omplaint with
13         under full aaomey-c/lent privilege?             in touch with you.         SHA

14
15         4/4/17                          4/13/17               4/18/17 4/20/17             5/11/17        5/18/17
16
17                                                                     Hi Tri - Draft of the retainer is
     Mel at David deRubertis' David deRubertis
18   office, Huynh told him                                            attached. I'm tied up today but
                              the leaders of the                       can chat tomorrow to review it,
     that Huynh was working Rescue Squad
19   with Sean McKessy from                                            Let me know your availability
     Phillips & Cohen                                                  for a call tomorrow.
20
     when the allegations of wrong doings could lead the SEC to uncover one of the largest share­
21
     holder fraud cases in US history. Additionally, the infmmation Huynh submitted to the SEC
22
23   had no relevance to Huynh's SOX retaliation claim. deRube1tis knew this very well because

24   in a June 2014 article published in Advocate Magazine 1 deRubertis wrote the following.
25
26
27
     1
      https ://www.advocatemagazine.com/article/2014-iune/protecting-whistleblowers-sarbanes-
28   oxley-s-protected-activity-requirement
                                                   11
                             COMPLAINT - DEMAND FOR JURY TRIAL
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1
2          The basic requirements of SOX's protected activity prong
 3         SOX does not require that the concerns disclosed by the whistleblower were actually
           illegal. Instead, "[t]o encourage disclosure, Congress chose statutory language which en­
4
           sures that 'an employee's reasonable but mistaken belief that an employer engaged in con­
5          duct that constitutes a violation [of a SOX enumerated statute or rule] is protected."' (Van
           Asdale, supra, 577 F.3d at 1001 [italics added].)
 6
 7                49.       On April 13, 2,017 deRubertis wanted Huynh to introduce him to Sean

 8    McKessy so he could learn about Huynh's SEC submission under the pretext that he wanted

 9    to make sure that there were no overlapped between Huynh's SEC and civil cases.
10   From: David deRubertis [rnailto:david@derubertislaw.com)
     Sent: Thursday, April 13, 2017 3:53 PM
11   To: Tri Huynh <triwyn@gmail.com>
     Subject: Re: Thanks for the call- Next Steps
12
     Tri - I forget whether the SEC submission asks about any internal reports or complaints. That issue overlaps with our
13
     case. In retrospect I actually think it's better that I review the SEC filing before you file i t to make sure it is consistent
14   with the issues that overlap on your individual case. Can you check with the SEC lawyers and make sure they a re OK
     with that realizing it's under full attorney-client privilege? Thanks.
15
                  50.       On 4/18/17, David deRubertis had a phone conversation with Sean McKessy
16
      then unilaterally asked McKessy for a copy of Huynh's upcoming SEC submission. After re­
17
      ceiving the document from McKessy, deRubertis weirdly asked McKessy to hold off filing
18

19    the complaint to give deRubertis a chance to review and approve it.
         From:.
20
                                  David dcRubcnis -r. d t.ivid<LUderubcrti sJaw.corn :..
         Sent:                    Tves<J;,y, Ap61 1 8, 20·1 7 2:,>7 PM
         To:                      Tri Hl1ynh; Tan1ckn White
         Cc:                      Jeff Rudrnnn
21       Su bjcc-t!               r.::e-: Connecting Se«ln ;.snd O,i,\vid t o AHgr" on Tr'i's C.:l!•C-�

         hn portancc:             High

22
         HI Td - WouJd it be o k t o Jet S<.w n kno\.v you're ok v.dth your SEC fil i nc, not going o u t u n t i l ton,orro\v? Ha v1as k i n d

23
         enouu.h to send me t h e docvrncr,t t o rcvic"v. However, I ' v e been i q t1n oll d a y rncc t i n.g �nd c � nnot review i t in d e t i'lil !or
         another hour o r so. I looked at it quickly nnd It is v�ry detailed o I d o need time to rcvl�,N it because th<.!'rc IS overlap
         b.ctv�een the t,vo fili ngs. Would t hi.s be ok? Th�nks.


24      Fron,:
        Sent:
                                Tri Huynh < triwyn@gn1;;iil.conY?
                                Tuesday, April 1 8, 201 7 2:50 PM
        To:                     'Sean X. McKessy'; 'Rebeccn Chang·; 'David deRubertis'

25
        Cc:                     t. r i..vyn@grnail.corn
                                        .
        S u bjcc-t:             Rebeccn/Sear, please hold off the filing ur1til ton1orro.,,..,. ·s noon

        I m portance:           High
26
        Scan/Becky.

27      Would it be possible to hope the filing with the SEC until tornonow's noon time ri s David need sorric a d d i t i o n .i i t i rne to
        review the doc yot.J sent hin, toni.ght.

28
                                                           12
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 1
       From:                         David deRube�tis < david@derubertislaw.com>
 2     Sent:                         Tuesday, April 1 8, 2017 5:08 PM
       To:                           Tri Huynh; Sean X. McKessy; Rebecca Chang
       Subject:                      RE: Rebecca/Sean please hold off the filing until tomorrow's noon
 3
 4     H i All - Reviewed it and no problems as to the individual case as drafted. Thank you again for
       letting me take a look at it and we' l l reciproc:ite when we prepare Tri 's DOL/OSHA fi l i ng. As I
 5     told Tri when he mentioned your fi rm was onboard, he's i n great hands obviously. Reading
 6     your work product simply confirmed that. I mpressive read.
       Take care,
 7
 8                5 1.          Two days later, deRubertis emailed Huynh a copy of the deRubertis Law
 9
     Firm's contingency retainer agreement. deRubertis knew that Huynh had received multiple
10
     retainer agreements from six other law firms. So, to lure Huynh into selecting him as Huynh's
11
     lawyer, deRubertis offered to pay for litigation expenses in the Huynh v. Walmart litigation,
12
13   including but not limited to Huynh's travels and lodging expenses to meet with deRubertis in

14   person, to attend court's hearings, and to attend mediation meetings etc. Most importantly for
15   Huynh was the fact that he didn't have to pay deRubertis a single cent if Huynh lost the case
16   against Walmart. None of the other law firms made Huynh this sweet offer.
17
                                                                                      1.  WAR�I\G RE: BA�KR�PTCY rlLI�G: Th, d(Rub1-nis Law Fim1, i\PC
18
       THE oeRUBERTIS LAW FIRM,APc                                                        her?by Jd1ises the client that filing bankruptcy (';10 diminat� the right to pursu? a
                        trial lawyers                                                     lawsuit. Client 'f!!.1ilically promiS($ and agree that Client will not file any
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23
24                52.           However, Huynh recently discovered that none of the other Law Fi1111s had in-
25   serted a weird bankruptcy clause in their retainer agreements either. deRubertis warned
26
     Huynh that he must notify deRubertis and the deRube1tis Law Finn before filing for personal
27
     bankruptcy. Why did deRubertis insert this clause? Huynh believed the RICO Defendants
28
                                                                                                 13
                                                COMPLAINT - DEMAND FOR JURY TRIAL
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1    had in their possession communications among themselves which would help answer this fun­
2    damental question. Huynh believes this information is discoverable during discovery.
3
4          Walmart's Civil and Criminal Penalties Could Be More Than $3,000,000,000

5           53.    The first question was what is Walmart's risk exposure if the SEC and/or the
6
     DOJ were able to successfully investigate and prosecute Walmart for securities fraud among
7
     other illegal conducts. The recent Non-Prosecution Agreement that the SEC and the DOJ en­
8
     tered into with Wells Fargo would be instructive in answering this question. Wells Fargo paid
 9
10   the SEC and the DOJ $3 Bil to settle Wells Fargo's inflation of the total number of accounts

11   per customer metric reported to investors and analysts. Given the seriousness of Walmart's

12   illegal conducts and Walmait's senior executives active pa1ticipation in committing share­
13
     holder fraud, Huynh believes Walmart's civil and criminal penalties would be much higher
14
     than that of Wells Fargo. However, to be conservative, Huynh assumed Walmart's risk expo­
15
     sure would be about the same as that of Wells Fargo.
16
17          54.     However, in additional to the civil and criminal penalties that the SEC and/or
18   the DOJ may impose upon Walmart, Walmart may lose approximately up to $54 Billion in
19
     SNAP sales and Walmart's Market Cap could depreciate by $20 Bil or more when the truth
20
     about Walmart's misconducts became known to the public.
21
22                               Risk Categories                                 Liability

23         Criminal and Civil penalties imposed by the SEC/DOJ.                $ 3 Billions2

24
25   2 https://www.justice.gov/opa/pr/wells-fargo-agrees-pay-3-billion-resolve-criminal-and-civil­

26     investigations-sales-practices
       https : //www.justice.gov/usao-cdca/press-release/file/1251336/download
27
     Wells Fargo inflated the cross-sell metric (the average number of banking accounts opened
28   per customers) reported to investors between 2002 to 2016 by pressuring their employees to
                                                       14
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 1        Loss in sales due to exclusion from the SNAP program.               $ 54 Billions3
 2
          Walmart's stock price deflation when the truth came out.            $ 20 Billions4
 3
 4
          Estimated Liabilities                                               $ 77 Billions
 5

 6
                               A Whopping One Billion-Dollar Bounty
 7

 8          55.     Another important question is what is the bounty that the Walmart Participants

 9   were willing to pay the members of the WSF Coverup Enterprise if they were able to fulfill

10   the Enterprise's common objective. It is well accepted that money, especially a lot of money,
11   is a powerful motivator to get people to do things that they normally would not do.
12

13          56.     To answer this question, Huynh turned to an economic model proposed by
14
15
16   open fake customer accounts. On February 20, 2020, Wells Fargo entered into a NPA with
     the SEC and DOJ to resolve cross-sell metric matter for $3 Billion.
17
     •   Walmart's criminal conducts were more serious than that of Wells Fargo because there are
18       emails akin to smoking gun evidence that linked Walmart's senior executives to inten­
         tional misrepresentation and fraud.
19
     3
        https://www.wsj.com/ articles/obstacles-remain-in-talks-to-settlewal-mait-bribery-probe­
20   l 485546521. It stated: "Discussions stalled over several issues beyond the size of potential
     penalties Wal-Mart would have to pay. The people familiar with the probe said one major
21
     sticking point has been Wal-Matt's eligibility to continue accepting food stamps in its 5,300
22   Wal-Mart and Sam's Club stores in the U.S. after a settlement is reached. A company that
     pleads guilty to a federal crime can lose its right to win government contracts-a penalty that
23   could block Wal-Mart from the $71 billion food-stamp program, which gives low-income
     Americans a monthly stipend to purchase food."
24
     • Since Walma1t had 26% the US Grocery Market, Walmart may lose up to $18 Billion in
25       annual sales. Assuming a 3-year suspension, Walmart may lose up to $ 54 Bil in total
         sales.
26
     4
        Walmart's Marketplace Capitalization at the end of 5/28/2021 was $400 Billion. Assuming
27   a 5% deflation in Walmart's stock price when the truth came out, Walmart may lose up to $20
28   billion in market capitalization.
                                                     15
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1    Professor STRATOS PAHIS in his aiiicle published in the Yale Law Journal.
2    https://www.yalelawiournal.org/pdf/795 t7d36iwp.pdfK.
3

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                     S T R AT O S P A H I S
5
 6                   Corruption in Our Courts : What It Looks Like and
7
                     Where It Is Hidden

 8
                '''If experience demands a presumption that a judge · ll)i/l seize e11e1y
                                                               f
 9             opportunity presented t:o hi1n in the course o his lffi.cial conduct to line his
               pockets, no canon of ethics or statute regarding disq ua.liflcation can srwe ou.r
10             judida.l �yste1n. "
11                                 - Justice "\iVilliam Rehnquisr 1
12
13                 Understanding Defendants' and Litigants' Demand for Corruption

14         A litigant or defendant (patiy) will make the bribe if the expected gains of the corrupt de­

15         cision are greater than the sum of the costs of the bribe and the expected costs of getting
           caught. The expected gains (Y) from a corrupt decision can be understood as a function of
16
           four factors. The first and most obvious factor that a patiy will take into account is the
17
           stakes of the case (S). The greater the value of a favorable decision, the more a patiy
18
           should be willing to pay for it. Assuming that the party had an initial probability of win­
19         ning the case (p), the value that the bribe will purchase will be the added probability of
20         winning the case. In other words, it will be the stakes (S) multiplied by the difference be­
21         tween the original odds of winning (p) and the odds of winning after paying the bribe,

22         which is assumed to be 1, or certain victory, for the sake of simplicity. So far, the benefit
           of paying a bribe is equal to (S)(l-p).
23
           We must now take into account the probability that the briber may not be able to keep the
24
           spoils of his corrupt decision. This may be the result of two events. First, the corrupt deci­
25
           sion may be reversed on appeal. The value of a corrupt decision will depend upon how
26
           large this rate of reversal (RR) is-a probability between O and 1. The closer the rate of
27         reversal is to 1, the smaller the value of the decision. We show this by multiplying our
28         benefit equation by (1-RR). Second, assuming that a party will not be able to keep the
                                                      16
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1        spoils of a corrupt decision if the bribe is discovered, the expected gains of the decision is
 2       multiplied by the probability that the corruption will go undiscovered. We can represent

 3       this by multiplying the equation by (1-r), where r equals the probability of being caught.
         The first half of our benefit equation is as follows:
4
 5                                                       Y = S(l -p)(l -RR)(l -r)
         The estimated values of the variables contextualized to Walmart were as followed:
 6
         •      (S) = $3000 Mil - See above
 7
         •      (p) = 50%
 8       •      (RR) = 10%
 9       •      (r) = 5%
10       •      Y = S(l -p)*(l -RR)*(l-r) = $3,000 Mil*(50%)*(90%)*(95%) = $1,282 Mil.

11
                57.      In short, the expected gain for the WSF Coverup Enterprise if the RICO De-
12
     fendants could pull off the fraudulent covernp scheme would be about $ 1.3 Bil. Therefore,
13   the Walmart Paiiicipants could set a Bounty as high as $1 Bil to reward the RICO Defendants
14   if they could achieve the Enterprise's the common purpose. Now, one could see why deRu­
15   bertis became visibly excited when Huynh told him that Huynh and McKessy planned to file

16   the complaint with the SEC in late April 2017.

17
                          Theodore Boutros - Walmart's Trusted Advisor and Fixer.
18
                58.      Gibson Dunn has now grown its top line for 25 straight years, while boosting
19
     profitability for 24 years in a row. Gibson Dun grew their revenue by 7.6 % to $2.16 Bil in
20
21                                            Gibson Dunn's Financial Performance
22                             2014 to 2018                                                                                    2020
23                                                                    $3,145             G i b son, D u n n                    & Crutcher
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1    2020 and their average profit per equity by 10% to $4.125 Mil. As a result, GDC paid their
2    partners handsomely.
 3
            59.     The Walmart Paiiicipants trusted and respected Theodore Boutros because
4
     Boutros rescued Walma1i from legal trouble water many times over, including the famous
5
     Wal-Mart Stores, Inc. v. Dukes. 5 Thomas Mars, Wal-Mart EVP and former general counsel
6
 7   once remarked "I call them lifeboat lawyers, because our careers depend on them,". "I talk to

 8   Ted Boutros more than I talk to any outside lawyer in the world, and there's not even a close
 9
     second," says Tom Mars, Wal-Mart's top in-house counsel. "We have access to all the best
10
     lawyers in the world .... Yet somebody has to be the best of the best, and that's the way I
11
     would describe Ted."
12
       "We are the firm that clients in distress have turned to when they are facing their
13
       worst problems, or when they have in fact faced defeat," "And we have been the
14     problem solvers, the game changers." says litigation department cochair Randy Mastro

15             Maestros of the "Get Out of Jail Free" Cards from the SEC and DOJ 6
16
            60.     It persuaded the U.S. Department of Justice and the Securities and Exchange
17   Commission to drop investigations of Joseph Cassano, a former American International
18   Group, Inc. executive widely demonized as one of the creators of the financial crisis. Over the
19   course of nearly a year, they made several detailed presentations to the government, ex­

20   plaining Cassano's actions and pointing out holes in the government's case. They reviewed
     documents, e-mails, and spreadsheets that, they asserted, showed that Cassano promptly and
21
     thoroughly disclosed his group's activities to management and auditors. The lawyers' final se­
22
     ries of presentations in the fall of 2009 lasted more than 40 hours, spread over five days and
23   entailed more than 600 pages of presentations and 400 exhibits. And they agreed to let
24   Justice and the SEC interview Cassano in April 2010. "We ultimately bared our factual soul
25
26   5 https://en.wikipedia.org/wiki/Wal-Mart Stores, Inc. v. Dukes

27     https://www.oyez.org/cases/2010/10-277
     6 The American Lawyer January 2012. Special Issue - Litigation Department of the Year.
28
                                              18
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 1   to them," says Walden.
 2          61.     The strategy paid off. Justice informed Gibson Dunn in May 2010 that it was

 3   closing its investigation of Cassano, and a month later, the SEC followed, a remarkable
     turnround that a former prosecutor says was in good part due to the defense lawyers' tactics.
 4
     "The judgment that they made to engage with us in an honest and forthcoming way was
 5
     unique and important to [their] success," says Paul Pelletier, the former deputy chief ofthe
 6   Justice Department criminal division's fraud section, who joined Mintz, Levin, Cohn, Ferris,
 7   Glovsky and Popeo last May.
 8                                           Maestros of the Media

 9          62.     The finn also took Wal-Mart's case to the press. "Wal-Mart was being
10   portrayed as an outlier, and somehow evil, and that was the theme when we got in­

11   volved," remembers Boutrous. "We tried to take a different approach on the legal issues
     but also explain the situation more thoroughly to the public." That willingness to work
12
     beyond the courts is vital to the finn's ability to manage client crises, says Mastro.
13
     "Google any of us," he says. "We come up talking to the press a lot, because our clients
14
     want us to."
15          63.     In short, Theodore Boutros and Gibson Dunn Crutcher were the best fix-
16
     ers that the Walmart Participants would call upon when they face an existential threat
17
     such as the one Huynh brought to the SEC's attention.
18
                    The GDC's Fixers Worked as a Cohesive and Tightly Integrated Unit
19
20          64.     In a recent court filing in the case Herring Networks, Inc v. Rachel Maddow

21   (Case No: 3:19-cv-01713-BAS-AHG), Gibson Dunn described in details a typical GDC team

22   structure and how they worked together on a day-to-day basis as a cohesive unit to deliver
23
     their client's objectives7, and most surprising client pay GDC top dollars for their services.
24
     For example, it shown that Boutros involved in every aspect of client engagement. He met
25
26

27
     7 See Dk:t. 35-2 at 8-24: https://storage.courtlistener.com/re-
28      cap/gov.uscourts.casd.645957/gov.uscourts.casd.645957.35.2.pdf
                                                         19
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1    with clients, directed the team's activities, and personally reviewed and approved major mo­
2    tions and court filings
 3
                     65.           GDC brings World class capabilities across the firm to each engagement, lev-
4
     erages powerful connections 8 , and do whatever it takes to win at all cost. This was the reason
 5
 6   why Gibson Dunn Crutcher is the "Ferrari" of the legal service industry.
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 7       Theodore J . B u t rous. J r.                           ( S 1 ,525 ,
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19                                                                           355.5

                     66.           Although, Huynh didn't interact with Boutros and Scalia on a daily basis, they
20
     were actively involved in the case behind the scene for two reasons. First, because the GDC's
21
22   operating model required them to do so, and second, Brass told Huynh in late 2019 that Scalia

23   was actively involved in the Huynh's litigation.9 Therefore, each and every member of the
24
25   8
       See https://en.wikipedia.org/wiki/Gibson Dunn.
26   9 Rachel Brass wrote "Secretaiy Eugene Scalia, f01merly counsel for Defendants, withdrew
     from this case on August 27, 2019, Dkt. 112, and therefore is no longer available to partici­
27
     pate in any trial of Plaintiff' s claims. Before his nomination to the Cabinet, Mr. Scalia was ac­
28   tively
     .      involved in the litigation of this case and could have tried the case in the event Ms.
                                                          20
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1    Rescue Squad was responsible for their own predicate acts and those of the of the other mem­
2    ber of the Rescue Squad.
 3
4           67.     On the other hand, according to Brass, each and every critical action must be

5    reviewed and approved by the Walmart Participants. This implied that the Walmart Partici­

 6   pants were responsible for their own predicate acts as well as the predicate acts, they caused
 7
     the other RICO Defendants to commit in fmtherance of the Enterprise's common objective.
 8
     The Walmart Shareholder Fraud (WSF) Coverup Enterprise and Its Common Purpose
 9
10          68.     The Walmart Shareholder Fraud Covernp Enterprise (WSF Coverup Enter-

11   prise) was formed for the common purpose of covering up (not to committing shareholder

12
       Purpose: Coverup Walmart's $140 Bil Fraud Against Shareholder
13                      ----------�---�---�--
                                                                                                  .. .
                         "Get Out of Jail Free" Card                            Civil Penalty Free Card
14                       (Non-Enfo1•cement Actions)                             (Dismissal of Complaint)
15                       "Truth on the Market" Defense
                                                                   i::
                                                                   0
                                               Criminal and                                              Open &
16                                            Civil Liabilities
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17

18
19
20                                                                                Strong             Weak
                              Huynh's Credibility                               Walmart's Factual Position
21
                    : Corruptions of the Judicial Process Corruptions of the OSHA Process
22                    Corruptions of the ESI Process      Obstructions of the SEC Proceeding
23
                                                              Catch and Kill
24
25                                                     Coverup the Coverup
26
                                                      Kill the Whistleblower
27
28   Brass became unavailable."
                                                            21
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 1   fraud) Walmait's $140 Billion fraud against shareholders and pulverizing any traces of
 2   Walmart's criminal conducts. To achieve this common purpose, the RICO Defendants and
 3
     their Co-conspirators needed to achieve three main goals (A, B, and C) using a six-pronged
 4
     scheme. These goals are symbiotic and synergistic to each other, working together in harmony
 5
     to accomplish the Enterprise's common purpose.
 6
 7
            69.     Goal A was to obtain "Get Out of Jail Free" Card(s) for Walmart's illegal con-
 8
     ducts i.e., obtained notification letters of non-enforcement actions from the SEC and/or the
 9

10   DOI. To achieve goal A, the RICO Defendants submitted factual and legal misrepresenta­

11   tions to the SEC and/or DOJ, Federal Courts, Walmart's shareholders, investment analysts,
12   the media, politicians, and the American public to purportedly asse1t the WSF Coverup Enter­
13
     prise's Trnth on the Market Defense (i.e., there was zero loss causation after Huynh's disclo­
14
     sures became public). The Truth on the Market 2 X 2 matrices above showed that in Apr 20 1 7
15
     when Huynh submitted his TCR complaint to the SEC, Walmart occupied the upper right­
16
17   hand quadrant of the risk Matrices. In this quadrant, Walmart's culpability was high and

18   Huynh's credibility was high. This position put Walmart and their executives at great peril for

19   both civil and criminal penalties.
20
            70.     Walmart's culpability was high because at that time Walmart's $140 Billion
21
22   Shareholder Fraud Enterprise (independent from the WSF Covernp Enterprise) was right in

23   the middle of perpetrating the $140 Billion shareholder fraud scheme. See the email and Pow­
24   erPoint presentation that Huynh sent to Greg Penner, Chairman of Walmart's Board of Direc­
25
     tor, Rob Walton, former chairman and current member of Walmart's Board of director, and
26
     Timothy F. Flynn Chair of Walmart's Audit Committee to put them on notices that Walmart's
27
     senior executives may have committed fraud against shareholder to the tune of $140 Bil and
28
                                                      22
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 1   attempted to obstruct and/or influence the OSHA investigation. DC Dkt. 83.
 2
            7 1.    There was plenty of evidence of Walmart's illegal conducts that went beyond
 3

 4   the evidence that Huynh discovered and submitted to the SEC between 2017 and 2018. For

 5   example, Huynh only recently discovered that Walmart's senior executives aiiificially inflated
 6   Walmart's Ecommerce FY18 Quarterly Sales growth then repmied this material metric to in­
 7
     vestors and analysts in order to mislead investors and analysts into believing that Walmaii
 8
     would be a viable and credible alternative to Amazon. Walmart's senior executives artificially
 9
     inflated Walmart's Ecommerce Quarterly Sales growth during FY18 into two ways: One) by
10
11   inflating Jet.corn's FYI 7 and FY18 Gross Merchandise Value (GMV) and Two) By improp­

12   erly accounted all of Jet.corn's Marketplace GMV for FYl 7 and FYl 8 as Jet.corn's sales in­

13   stead of only recognizing the commission fee that Jet.com collected from its Marketplace
14   sellers as required by GAAP. The artificially inflated quarterly Ecommerce sales growth met­
15
     ric misled Walmart's shareholders and analysts regarding Walmart's Ecommerce outlooks.
16
     As a result of the rosy outlooks, investors pushed up Walmart's Market Cap by $140 Bil.
17
     However, when Walmart's senior executives announced during Walmart's Q4 FY18 earnings
18
19   call on February 18, 2018 that Walmaii's Q4 FY18 Ecommerce sales growth collapsed from

20   an average of 58% for the first three quarters of FYl 8 to 23% (a 35% dropped), Walmart

21   stock price dropped by 10% on the same day then continued to drop from a high of $109 set
22
     in 1/30/18 to a low of $82 on 5/29/18 before rebounding, wiping out approximately $82 Bil
23
     from Walmart's Market Cap.
24

25          72.     On the other hand, Huynh's credibility was high because Huynh produced doc-
26   umentary evidence and analyses to the SEC which showed that Walmart's senior executives
27
     artificially inflated the total number of SKUs on Walmart Marketplace then correlated this
28
                                             23
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 1   material metric to Walmart's Ecommerce GMV growth and profitability. This was done to
 2   purportedly show that Doug McMillan's New Basket Driven Ecommerce strategy worked.
 3
     McMillan aiticulated to Walmait's shareholder that Walmart will not only grow its Ecom­
 4
     merce sales in two ways. First, Walmait will grow its online grocery/consumable (low mar­
 5
     gin business) by allowing customers to order store's grocery/consumable products online then
 6
 7   picked their order in Walmart's parking lots to drive customer traffic. Second, Walmart will

 8   monetize this traffic by directing these customers to Walmart.com to buy general merchandise

 9   products on Walmart.com (offered by Walmart's l P and Walmart's Marketplace seller offer­
10
     ings). Since Walmart didn't break out their online general merchandise business and grocery
11
     and consumable business, investors and analysts relied heavily on the growth of the total
12
     number of Marketplace SKUs on Walmart.com as a proxy to infer Walmart's online general
13
     merchandise business sales.
14
15
            73.     Additionally, after Huynh raised his complaint to Marc Lore, Walmart's US
16
     Ecommerce President and CEO, and other Walmart's Ecommerce executives, Walmart imme­
17
     diately terminated Huynh's employment without conducting any investigations in order to
18
19   sweep their fraudulent conducts under the rugs.

20
            74.     In short, to achieve Goal A, the RICO Defendants must move Walmart's risk
21
     position from the upper-right-hand quadrant to the lower left-hand quadrant of the 2 X 2 Truth
22
23   on the Market matrices. To do this, the RICO Defendants engaged in evidence whitewashing,

24   fabrication, destruction, and mutilation as well as submitting false declarations then submit­

25   ted factual misrepresentations regarding Walmait's illegal conducts to the SEC and/or the
26   DOJ, Federal Courts, Walmart's shareholders, investment analysts, the media, politicians,
27
     other US government and State agencies, and the American public to purportedly show zero
28
                                              24
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 1   loss causation to Walmaii's stock when Huynh's disclosures became known to the public.
 2
            75.     Goal B was to obtain a "Civil Penalty Free" Card from the United States Dis-
 3
 4   trict Court, Northern District of California. It is important to point out that Goal B was syner­

 5   gistic and symbiotic with Goal A in two ways. First, Goal B allowed the RICO Defendants to
 6   misrepresent the facts and the laws then communicated them to the SEC and/or the DOI,
 7
     Walmart's shareholders, investment analysts, the media, and the American public to po1iray
 8
     Huynh as too "mentally ill" and too "slimy" to be a credible whistleblower. This allowed the
 9
     RICO Defendants to move Huynh's credibility as a whistleblower from high to low in the
10
11   2X2 Truth on the Market Defense Matrices. Second, the RICO Defendants not only wanted

12   to get Huynh's lawsuit dismissed but dismissed in such a clear, convincing, and powerful

13   fashion to reinforce the "Get Out Jail Free" card to purp01iedly prove that Walmaii didn't de­
14   fraud their shareholders.
15

16          76.     In late April 2017 when Huynh retained deRubertis to represent him in the

17   Walmart's lawsuit, Huynh's SOX claim against Walmart occupied the upper right-hand quad­
18   rant of the RICO Defendants' "Nuts & Sluts" Defense Matrices. Huynh's case against
19
     Walmart was open and shut because of the overwhelming documentary evidence and case
20
     analyses that Huynh provided to deRubertis which proved that Huynh made a prima facie
21
     case showing for his SOX claim while Walmart failed to prove by clear and convincing evi­
22
23   dence that they would have terminated Huynh's employment in absent of Huynh's protected

24   activity. Therefore, in order to move the position of Huynh's lawsuit from an "Open and

25   Shut" position in the upper-right hand quadrant to a "Nuts & Sluts" position in the lower left­
26   hand quadrant of the "Nuts and Sluts" Defense Matrices, the RICO Defendants engaged in ev-
27
28
                                              25
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 1   idence fabrication, destrnction, mutilation, concealment, and suppression as well as submit­
 2   ting false declarations. Walmart then submitted factual and legal misrepresentations to the
 3
     United States District Court, Northern District of California through various e-filings to the
 4
     comt's docket then improperly influenced District Judge Vince Chhabria and Magistrate
 5
     Judge Sallie Kim to rule in Walmait's favor throughout the Huynh's litigation.
 6
 7
            77.     Goal C was to secure a risk-free civil and criminal liabilities future for all of
 8
     the members of the RICO Defendants. To achieve this goal, the RICO Defendants executed a
 9
     three-pronged scheme (prong #4 to #6): Prong #4's objective was to engage in the conceal­
10
11   ment of the RICO Defendants' illegal conducts. Prong #5's objective was to engage in the

12   Catch and Kill of any evidence that may come back and haunt the RICO Defendants in the fu­

13   ture. The RICO Defendants achieved prong #5 in three ways: 1) the RICO Defendants took
14   back all of the documents that Huynh retained from Walmart to support his SEC submissions,
15
     2) the RICO Defendants forced Huynh to sign a highly restrictive asset return agreement, and
16
     3) the RICO Defendants concealed all of the evidence that Walmart and Huynh used during
17
     the course of the litigation as well as during summary judgement from the public and
18
19   Walmart's investors by either designating them as "Confidential" and/or filed them under seal

20   even though they were not. The RICO Defendants conuptly influenced District Judge Vince

21   Chhabria to allow Walmart to file both the documents used by Huynh and by Walmart during
22
     summary judgement under seal even though these documents failed to meet the District
23
     Court's high sealing standards. Prong #6's objective was to kill and silence Huynh once and
24
     for all so Huynh could never pose any risks to the RICO Defendants in the future. To effec­
25
     tuate this scheme, the RICO Defendants executed a massive "Nuts & Sluts" campaign against
26
27   Huynh to assassinate Huynh's characters and reputations, including concocting a 133-page

28   smear
     .     dossier to falsely portray Huynh as mental ill, falsely charge Huynh with dishonesty
                                                     26
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 1   and sexual harassment. In shmi by achieving Goal A, B, and C, the RICO Defendants would
 2   achieve the WSF Coverup Enterprise's illegal common purpose.
 3
 4          The RICO Defendants Developed and Executed a Six-Pronged Illegal Coverup
            Scheme to Effectuate the WSF Coverup Enterprise's Common Purpose.
 5
 6          78.     To achieve Goal A, B, and C, the RICO Defendants developed and executed a

 7   six-pronged illegal coverup scheme (see the chart above). Prong #1 is the foundation of the

 8   illegal coverup scheme which fueled the execution of other five prongs. For example, to ef­
 9   fectuate prong #2, the RICO Defendants lured and deceived Huynh into retaining deRubertis
10
     to represent Huynh in his lawsuit against Walmart. deRubertis exploited his relationship with
11
     Huynh to deceive Sean McKessy, Huynh's SEC Whistleblower lawyer at Phillips & Cohen,
12
     to provide to him with a copy of Huynh's 4/19/17 SEC submission under the pretext that deR­
13

14   ubertis needed to ensure that there was no overlapped between Huynh's SEC submission and

15   Huynh's civil complaint even though one had nothing to do with the other. deRubertis leaked

16   this confidential and non-public infom1ation to the Gibson Dunn Participants (referred
17
     throughout this complaint as the Rescue Squad) and the Walmart Participants sometime be­
18
     tween late Apr and early May of 20 1 7. The RICO Defendants leveraged this information to
19
     engage in a whitewashing campaign to make the misleading statements Walmart made to in­
20
     vestors in FYI 7 no longer misleading. See DC Dkt. 1 58-8
21
22
            79.    Similarly, to execute prong #3 of the coverup scheme, deRubertis secretly
23

24   gathered the documentary evidence and the legal analyses that Huynh had provided to deRu­

25   bertis regarding Huynh's SOX claim. Instead of using this information to prosecute Walmart

26   on Huynh's behalf, deRubertis leaked this infom1ation to his Co-RICO Defendants which
27   triggered the RICO Defendants to engage in evidence fabrication, destruction, mutilation, and
28
                                                     27
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1    concealment as wells as submitting false declarations in support of Walmart's motion for
2    summary judgement to obstruct the undue administration of justice. For example, the RICO
3
     Defendants fabricated Beal's 11/30/16 email and Marketplace RIF, destroyed evidence of
4
     Huynh's meeting with Beal on Oct 4 and Oct 18, 2016, mutilated Huynh's email and calendar
5
     entries in order to file factual and legal misrepresentations with OSHA, the United States Dis­
 6
 7   trict Court, Northern District of California and the United States Court of Appeals for the

 8   Ninth Circuit.

 9
            80.       Prong #2 and prong #3 of the Enterprise's coverup scheme once successfully
10
11   executed will enable the RICO Defendants to achieve Goal A and Goal B. Prong #2 is the

12   RICO Defendants' whitewashing campaign. The purpose of Prong #2 is to reduce Walmart's

13   culpability from high to low in the 2x2 Truth on the Market Matrices based on the leaked in­
14   formation from deRubertis the RICO Defendants engaged in a whitewashing campaign in an
15
     attempt to make the misleading statements Walmart made to its shareholders in FYl 7 no
16
     longer misleading. For example, the RICO Defendants attempted to redefine Walmart's Mar­
17
     ketplace as Walmart.com when it was not to make the statements made by McMillan to inves­
18
19   tors and analysts about the total number of Marketplace SK.Us on Walmart.com no longer

20   misleading. Additionally, Huynh also recently discovered that David deRubertis intentionally

21   delayed filing Huynh's complaint in Federal Court from Mid-Dec 2017 to Mid-Mar 2018 to
22
     give the RICO Defendants the time and run way they needed to plan and conceal the mislead­
23
     ing statements Walmart made to investors in FY18 regarding Walmart's quarterly Ecommerce
24
     sales growth. On the other hand, prong #3, moved Huynh's credibility as a whistleblower
25
     from high to low. In short by achieve Goal A and B, the RICO Defendants fraudulently move
26
27   their risk profile/position on the 2 X 2 "Truth on the Market" Defense Matrices from the up­

28   per
     - right-hand quadrant to the lower left quadrant.
                                                    28
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1           81.    Prong #3 consisted of #3A and #3B. Prong #3A's objective was to move
 2   Huynh's factual position from strong to weak. The RICO Defendants achieved this by engag-
 3
     ing in evidence suppression, destruction, mutilation, and concealment as well as submitting
4
     false declarations. Prong #3B's objective was to move the RICO Defendants' factual posi­
 5
     tions from weak to strong. To effectuate prong #3B, the RICO Defendants directed David
 6
 7   deRubertis to shotgun plead five frivolous ADHD FEHA claims in Huynh's 3/15/18 com­

 8   plaint against Walmart. This put Huynh's ADHD condition and Huynh's motives for engag­

 9   ing in protecting conducts (only applicable to employment discrimination and retaliation case
10
     not in SOX case) at the center at his lawsuit. This allowed the RICO Defendants to invade
11
     Huynh's right to privacy under both the US and California Constitutions in order to illegally
12
     obtain Huynh's psychiatrist records and personnel files then manipulated the facts and the
13
     laws to purportedly portray that Huynh was too mentally ill and too slimy to be a credible
14
15   whistleblower to purportedly prove that Huynh didn't engage in protected activities and

16   Walmart didn't conunit securities fraud.
17
            82.     Additionally, the RICO Defendants engaged in evidence suppression, fabrica-
18

19   tion, concealment, and submitting false declarations. In short, by successfully executing

20   Prong #3A and #3B, the RICO Defendants moved Huynh's competitive position in his SOX

21   claim against Walmart from the "Open & Shut" position to the "Nuts & Sluts" position. The
22
     RICO Defendants used this new position to corruptly influence District Judge Vince Chabbria
23
     not only dismissed Huynh's complaint but did so in such a clear, convincing, and powerful
24
     fashion to reinforce the SEC's Get Out of Jail Free Card so the RICO Defendants could once
25
     and for all purportedly convince the SEC and/or the DOJ, Walmart's shareholders, investment
26
27   analysts, the media, politician. Other US and States Governmental Agencies, and the Ameri­

28   ?an public that Walmart did not commit fraud against shareholders.
                                                      29
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1              83.   Goal C's objective was to ensure a civil and criminal liabilities risk-free future
2    for all of the RICO Defendants. To achieve Goal C, the RICO Defendants must successfully
3
     execute prong #4, #5, and #6. Prong #4 is the Catch and Kill scheme where the RICO Defend­
4
     ants deceived and threatened Huynh to tum over his personal laptop hard drive which in­
5
     cluded the documents Huynh retained from Walma1i after his termination to supp01i his SEC
6
 7   complain. Some of these documents akin to smoking evidence that could implicate Walmart

 8   and Walmart's senior executive for committing fraud against shareholders. Additionally, the

 9   RICO Defendants corruptly influenced Magistrate Judge Sallie Kim and District Judge Vince
10
     Chhabria to allow Walmart to keep the "Confidentiality" designation and filed these docu­
11
     ments under seal to make sure that these documents could not be used by investors, US and/or
12
     State governmental agencies to prosecute the RICO Defendants civilly and criminally in the
13
     future.
14
15
               84.   Prong #5 is the RICO Defendants' coverup the coverup scheme. This
16
     scheme's objective is to ensure that the predicate acts perpetrated by the RICO Defendants in
17
     furtherance of the WSF Coverup Enterprise's illegal coverup scheme didn't come back later
18
19   and implicate the RICO Defendants civilly and/or criminally. For example, deRubertis used

20   the purported PAGA claim to coverup the facts that he illegally leaked Huynh 4/19/17 SEC

21   submission to the Rescue Squad and the Walmart Participants. This predicate act violated the
22
     criminal statute 18 U.S.C. § l 512(c)(2) related to obstruction of an official proceeding. It
23
     could put deRubertis in jail for a long time if the SEC discovered his obstructive conducts.
24
25             85.   Lastly, prong #6 is the kill the whistleblower scheme whereby the RICO De-
26   fendants manipulated and disseminated factual misrepresentations to falsely charged Huynh's
27
     with moral turpitudes i.e., sexual harassment and dishonesty and portrayed Huynh as mentally
28
                                               30
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 1   ill in order to destroy Huynh's creditability as a witness so Huynh could never testify against
 2   the RICO Defendants at any future lawsuits and/or US Government Agencies investigations.
 3
 4          86.     In summary, in order to achieve the WSF Coverup Enterprise's common pur-

 5   pose (i.e., to cover up Walmart's $140 Bil shareholder fraud and to ensure a risk-free future
 6   for all the RICO Defendants), the RICO Defendants must accomplish Goal A by successfully
 7
     executed prong #2 and #3, Goal B by successfully executed Prong #3A and #3B, and lastly
 8
     Goal C by successfully executed prong #4 to #6.
 9
10                                 The Whitewashing Campaign
11
            Walmart's Marketplace Definition Prior to May 2017.
12
13          87.     Prior to May 2017, Walmart's insiders, investment analysts, investors, and in-

14   dustry publications defined Walmart's Marketplace as a section on Walmart.com where third

15   party/3P aka Marketplace sellers listed their products for sales on Walmart.com. The total
16   number of SK.Us offered to customers on Walmart.com equals to the total number of SK.Us
17
     (products) offered by Walmart's I P plus the total number of Marketplace SK.Us offered by
18
     Marketplace sellers.
19
20
                         Seth Beal's Definition of Walmart Marketplace
21
        https ://www.digitalcomrnerce360.com/2016/04/14/walmartcom-invites-more-mer­
22      chants-sell-its-marketplace/
23      Wal-Mart, No. 4 in the newly released Internet Retailer 2016 Top 500 Guide, began
24      in 2009 to allow other retailers to sell their products alongside the retail chain's in­
        ventory on Walmart.com. Wal-Mart has developed its onl.ine marketplace slowly,
25      starting with six merchants-eBags Inc. (No. 167), Wayfair LLC (No. 24), Tool
26      King LLC, Plumstruck (No. 91, part of Hayneedle Inc.), ShoeBuy Inc. (No. 101)
        and ProTeam (No. 38, part of Fanatics Inc.)-and, starting in 2014, began expand­
27      ing its roster that now lists approximately 300 retailers, according to investment
28      firm Robert W. Baird & Co. After a long trial period that allowed Wal-Mart to
                                                         31
                              COMPLAINT - DEMAND FOR JURY TRIAL
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 1      develop technology to support more sellers and more SKUs online, Wal-Mart
        is ready to expand its marketplace, Seth Beal, Wal-Mart's senior vice president
2
        of global marketplace, said at the conference. "We started with a few sellers be­
 3      cause we wanted to do it right," he said. "Customers were telling us they wanted
        more products online, and now we're ready to partner with many more sellers."
4
        Products from retailers are displayed alongside Wal-Mait's own inventory and
5
        are called out as Walmart Marketplace items, with the seller's name displayed
 6      on the items. Retailers on Wal-Mart's marketplace can be featured in Walmart.com
        promotions, such as Value of the Day deals. "Customers are already shopping on
 7      Wal-Mart, and they're looking for great products with great prices," Beal said. "Our
 8      partnership with marketplace retailers allows us to provide our customers with
        more brands and products on Walmart.com."
 9
        https://www.sdcexec.com/sourcing-procurement/news/12249812/ commercehub-com­
10      mercehub-expands-partnership-with-walmart-adds-integration-with-walmart-market­
        place
11
12
        "Launched in 2009, Wal-Mart Marketplace expanded Walmart.com's product
13      assortment for customers alongside Wal-Mart's existing first-party merchan­
        dise. More than 80 million unique visitors shop Walmart.com every month looking
14
        for products across popular categories like apparel, electronics and home. Customers
15      trust Wal-Mart to provide a broad assortment of products and investing in our mar­
        ketplace helped us grow our assortment to 11 million items in just a few years 10 ,"
16
        said Seth Beal, senior vice president of global marketplace at Wal-Mart. "By expand­
17      ing our relationship with CommerceHub, we'll be able to leverage its network of re­
        tailers and brands to offer customers more of what they're looking for at
18
        Walmart.com."
19
20
            88.     There are two key takeaways from Seth Beal's article below. First, the
21
     term "Marketplace" is synonymous with the tenn "third-party" and these terms were used
22
23   interchangeably. Second, Marketplace sellers are synonymous with third-party sellers.

24   Third, the total number of items/SK.Us listed for Sales on Walmart.com equals to the total
25

26
     10 This 11 million Walmait Marketplace SK.Us quoted in this article jived with the 10.9 mil­
27
     lion Marketplace SK.Us Beal reported to McMillan in his July 30, 2016 email. COA Dkt. 5-4
28   at 95.
                                                   32
                            COMPLAINT - DEMAND FOR JURY TRIAL
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1    number of Marketplace/3P SKUs and Walmart's lP SKUs (Walmart's own inventories).
2
        https://corporate.walmart.com/newsroom/business/20161026/expanding-your-market­
 3
        place-of-products-on-walmart-com
4
5
        When you visit Walmart.com, my team and I work hard to make sure you can find
 6
 7
     E x p a n d i n g Yo u r M a r ket p l a ce of P ro d u ct s o n
 8   Wa l m a r t . co m
     By Seth B e a l   I Octo b e r 2 6 , 2016
 9
        what you need, every single day. One way we do that is through our Marketplace
10      sellers. That's what's happening behind the scenes when you visit Walmart.com.
11      When you search for an item, not only do you see options from Walmart.com's
        own inventory - your search likely brings up choices from third-party sellers,
12      too. These are third-party sellers that we've chosen to work with because they of­
13      fer a great selection of products at a great price. Marketplace makes it easier for
        customers to find a wider range of the items we sell in stores, plus some other
14      brands you might not find at a store, like Toms and Vans shoes.
15      Since this time last year, we've grown the number of Marketplace sellers by more
        than 30 times. This has helped us triple our assortment on Walmart.com since last
16
        year, with more than 20 million items 1 1 today, and growing. One of our highest pri­
17      orities in developing the Marketplace is ensuring the quality of our overall customer
        experience. We reach out to customers to learn about their experiences, and we're
18
        proactive about checking data to see where we can help Marketplace sellers im­
19      prove their performance to go above and beyond. We'll continue to focus on our
        Marketplace sellers as they help us help you find exactly what you need. This is
20

21
22
23   1 1 The 20 million SKUs on Walmart.com jived with the number of SKUs that Beal reported
24   to Doug McMillan and Marc Lore on Oct 2, 2016. COA Dkt. 5-4 at 99-100.
     • In his email, Beal wrote "Quick update on Marketplace progress: 1 6.5 million unique
25        SKUs (up from 6.2 million at the begim1ing of the year) - on the site, there are currently
26        19.7 million unique SKUs including lP". The "on the site" refened to
          Walmart.com/online. Thus, Walmart.com had roughly 20 million SKU in Oct 2016.
27   • However, only four days later McMillan reported to investors during Walmart's 23rd An­
          nual Meeting that Walmart Marketplace had 20 million SKUs (See COA Dkt. 5 at 5-4 at
28        103) by counting l P SKUs as Marketplace.
                                                      33
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 1      just one-way Walmait.com is working to make your online shopping experience bet­
        ter across the board.
 2
 3         BARCLAYS
                                                                                      Equity Research
                        Wa l-M a rt Stores
 4                                                                Consuiner I U.S. Food & Staples Ret�lllng
         Pos i t i o n i n g fo r Tecton i c S h ift i n Reta i l                        31 October 201 6
 5      Barclay's Analysts: Karen Short, Sean Kras, and Matthew McClintock, CPA, CFA

 6      Walmart Marketplace refers to the wide and growing selection of third-party mer­
 7      chandise available on Walmart.com. Walmart Marketplace was first launched in
        2009 and the number of SK.Us has greatly increased. In fact, the company was adding
 8      over 1 million SK.Us per month earlier in 2016 - we don't know if it is still increasing
 9      this quickly - and the site now has 20 million SKUs online vs. 150,000 at a typical
        supercenter. Seth Beal, SVP of Global Marketplace at Walmart e-commerce has said
10      that there are still areas where more product depth is needed, including electronics,
11      electronics accessories, apparel, home, health, and beauty. As such, we expect the
        number of products offered online will continue to increase. Meanwhile, the growth
12      ofMarketplace has led to internal merchants having to "raise their game" since they
13      are also competing with Marketplace merchants.

14                 Walmart's Marketplace Purported Definition After May 2017.

15      "There's an old saying: "When I see a bird that walks like a duck and swims like a
16      duck and quacks like a duck, I call that bird a duck" Gaiy Gensler, Chainnan of the
        Securities and Exchange Commission-May 20, 2021.
17
18      "I understand that after filing this litigation Mr. Huynh has claimed that Doug McMil­
        lan presented inaccurate SKU count infmmation to investors during the October 2016
19
        investor community meeting based on Mr. McMillan's use of the term "Market­
20      place". The Walmart Marketplace is comprised of every seller that sell on
        Walmart.com, which includes Walmart and many other third-party sellers." 12
21
        Seth Beal's declaration on 8/26/19 in support of Walmart's motion for summary judg­
22      ment. DC Dkt. 171-1 at 99.
23
            89.     Shortly after deRube1iis secretly obtained and leaked Huynh's 4/19/ 1 7 SEC
24
     submission, the Rescue Squad, Walmart's senior executives and the other RICO Defendants
25

26

27      12 Seth Beal's declaration contradicted with how he defined the te1m "Marketplace" prior
28      to May 2017.
                                               34
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1    and their Co-conspirators developed and executed a four-step scheme to whitewash evidence
 2   of Walmart's illegal conducts.
 3
                                    Asso rtment M etric Re p o rted to I nvestors
4            80                                                                                                             75   75                60%
                                                                 52%           53%                                     70
                                                                                                 5 2%
 5           70                                  SO%'---�;:..----,.                                               67
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11                                                                                                                               0%    $Kl.I ll
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13

14
15           90.       First, Walmart stopped reporting the total number of Walmart Marketplace
16
     SK.Us on Walmart.com starting on Walmati's Q l FY18 earnings call (May 2017). For exam­
17
     ple, during Walmart's Q4 FY I7 earnings call on Feb 2017, McMillan disclosed "From a
18
     marketplace perspective, we now have over 35 million SKUs - more than quadrupling the
19
     number available at the beginning of the year.". However, on the Walmaii's Q l FY18 earn­
20

21   ings call on 5/18/17, McMillan shifted his disclosure from the total number of Marketplace

22   SK.Us to the total number of SK.Us Walmart.com. He disclosed "Walmart.com now has 50
23   million first- and third-party items to choose from compared to 10 million at this time last
24
     year (Q l FY I7)-so our assortment continues to ramp". Immediately after the earnings con­
25
     ference call, Robert Ohmes (a RJCO Defendant) - a reputable BOA/ Merrill Lynch's Analyst,
26
     published an investment report on Walmart. In the report Ohmes wrote "Continued market­
27
28   place expansion (now 50mn online SKUs vs. 3 5mn in F4Q and l 0mn last year". Ohmes
                                                        35
                                       COMPLAINT - DEMAND FOR JURY TRIAL
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1    used the tenn "Marketplace" and "Walmart.com/Online" interchangeably to classify the 50mn
2    SKUs as Marketplace then broadcasted this misleading infonnation to investors and other an ­
3
     alysts in attempt to prime the pump via the internets and emails (i.e., planned the seed in in­
4
     vestors' mind that Walmart's Marketplace is synonymous with Walmart.com) for Walmart's
5
     executives to go on roadshows to whitewashing evidence of Walmart's illegal conducts.
6
7
            91.     Second, after Ohmes primed the pump, Walmart's Senior Executives went on
8
     multiple analyst conferences and Walmart's own events to begin whitewashing the misleading
9
     statements McMillan made to investors and analysts in FYI 7 concerning the total number of
10
11   Marketplace SKUs on Walmart.com.

12
                   Walmart's Annual Q&A Session with analysts on June 2, 2017
13
         Doug and Brett, you both mentioned Q l was good. We'd agree, it was quite good.
14       And it was an anomaly for a retailer to see such explosive growth on e-com, and
15       yet the margin was relatively intact. We haven't seen it across most of the retail space.
         It looked like it was an omnichannel type of quarter, and I'm curious if there was
16       something that was done, whether it was on the expense side or on the gross margin
17       side, where you've either figured out some fonnula to enable the e-com growth to
         grow at a rapid pace without harming margin. Simeon Gutman, Morgan Stanley.
18
        "It's really price, it's assortment and it's service. The customer is not that different in
19
        that way. Now experience in services being redefined in a big way, and our assort­
20      ment had gone, given the marketplace expansion 1 3 from about 10 million a year ago
        to now north of 50 million. So, you've -- we've made great progress on assortment,
21
        managing price pretty well, working hard on experience" C. Douglas McMillan -
22      Wal-Mart Stores, Inc. - CEO, President & Director.
23            Deutsche Bank Walmart's Investment Conference on June 13, 2017

24       "Absolutely, and we drill down into the comp perfo1mance in the first quaiter, e-com­
25       merce, walmart.com, aided the comp by 80 basis points, which was surprising to The

26
     13 McMillan used te1m "marketplace expansion" in Ohmes' 5/18/17 report to substitute for
27
     the "Walmart.com" McMillan used during the Q l FY18 earning calls. See paragraph 96
28   above.
                                                 36
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1         Street, and really hands off to the team on that type of performance. Walk us through
          how you've built the infrastructure to generate that level of performance. And also
2
          does your success on your e-commerce platfo1m, does it alter the thought process
3         around store count and how you utilize the stores? And maybe you can just discuss
          also how we should be thinking about the longer-term profit algorithm, given the suc­
4
          cess you're having in e-commerce." Paul Elliott Trussell Deutsche Bank AG, Re­
5         search Division.
6         The systems work that we did allow us to dramatically increase the marketplace on
7         our site. So back about a year ago, we had around 10 million items online, now we
          have over 50 million items online. Now 50 million, still not as much as some of our
 8        competitors would have. The difference between 10 million and 50 million is a big
9         difference. Brett M. Biggs Chief Financial Officer and Executive Vice President.

10           92.     The RICO Defendants also directed their Co-Conspirators to disseminate

11   Walmart's misrepresentations concerning the new definition of Walmart's Marketplace.
12
13    Walmart's Disclosures during Walmart            Walmait Using Reporters to Disclosures to the
      Quarterly Earning Calls                         Walmart's Investor and the Public.
14

15    "Walmart.com now has 50 million first and       "Wal-Mart Vice-President of Partner Services
      third party items to choose from compared to    Michael Trembley said Wal-Ma1t's move is fo­
16    l O million at this time last year-so our as-   cused on meeting customer demand for differ­
17    sortment continues to ramp." McMillan - Q l     ent types of products and increasing online as­
      FY18 earnings call on 5/18/17.                  sortment. Wal-Mart's marketplace inventory
18                                                    has quintupled this year to 50 million items."
19                                                    Nandita Bose, a Reuters Reporter, on 7/27/17. 14

20   "In e-commerce, customers are responding         "Wal-Mart has already increased the number of
     favorably to our expanded assortment, which      products offered on Marketplace to 67 million
21
     surpassed 67 million SKUs on                     items, supplemented by items from third-paity
22   Walmart.com." McMillan Q2 FY18 on                sellers like Toms and Vans shoes." Francine
     8/17/17.                                         McKenna, a Marketwatch.com reporter, on
23
                                                      9/13/17. 15
24
25
26   14
        https://www.reuters.com/article/us-walmart-vendors-exclusive/exclusive-not-made-in­
27   america-wal-mart-looks-overseas-for-online-vendors-i dUSKBN1AC1VJ
     15
        https://www.marketwatch.com/story/wal-mart-accounting-for-e-commerce-overseas-asset­
28   sales-draws-sec-scrutiny-2017-09-12
                                                    37
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 1             93.       Matthew Boyle (another RICO Defendants), a Bloomberg News reporter, pub-
 2   lished an aiticle on June 16, 2017 to purportedly report to the public, Walmart's investors, in­
 3
     vestment analysts, the SEC and the media regarding Walma1t's SKUs metric for Aug and Nov
 4
     2016 and Feb 2017 as Walmart.com's SKUs even though Walmart previously reported these
 5
     SKUs as Marketplace's SKUs to investor during FY I 7. 16
 6
 7
          Ramping Up
 8    Walmart.com has added scores of products over the past year but still trans Amazon
                     ,��-··-
 9    ■ Products on',Walmart.com
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                                     . �� �                                                                             . hed back to
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                      Marketplace to deceive              �"i\e
13    30
                      investors      .
      25                                                                                  23 Mil
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14    20                ,                            15 Mil
      15             lOMII
15        10
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18
19
20             94.       Third, Walmart stopped using the term "Marketplace" and the term "Third-
21   Paity(3P)" interchangeably in their public disclosures to discuss the Walmart's Marketplace
22
     business in order to sever the synonymous relationship between these two terms. This allowed
23
     the RICO Defendants to solidify their purp01ted definition of Marketplace as Walmart.com
24
     with Walmart's investors, analysts, the SEC and/or the DOJ, the media, and the American
25
26
27
     16
        https ://www.bloomberg.com/news/articles/2017-06-16/wal-mart-offers-a-refuge-for-
28   sellers-tired-of-amazon
                                                   38
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 1   public. The syntax analysis chart below examined disclosures made by Walmatt during vari­
 2   ous Walmatt's Quatterly earning calls, investment analyst conferences, and Walmatt's An­
 3
     nual Meetings between 2016 and 2018. Between Feb 2016 to April 2017, Walmatt used the
 4
     terms "Marketplace" and "Third-Patty/3P" interchangeably 3 3 times to discuss the Walmatt's
 5
     Marketplace (3P) business. The te1m "Marketplace" was used 66% of the time (25 times)
 6
 7   while the terms "Third-Patty/Third Party/3P" were used 34% of the time (13 times). How­

 8   ever, starting in May 2017, Walma1t stopped using the term "Marketplace" and "Third­

 9   Patty/3P" interchangeably to describe the Walmatt's Marketplace business. Between May
10
     2017 the end of 2018, Walmatt used the te1m "Marketplace" 0% of the time (0 time). Instead,
11
     tenn "Third-Patty/Third Patty/3P" was used 100% of the time (28 times).
12
            Syntax A n a lys i s fo r t h e Te rms " M a rket p l a ce" a n d "Th i rd - Pa rty
13
                                  38 Times                                                  28 T i m es
       100%
14      90%                     1 3 T i m es
                                    34% -.
15      80%                                      ......
        70%
16      60%
                                                                                -... ._ -... 28 T i m e s
        50%
17
                                                          �-------� ..... .. 100%
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        40%
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19      10%                                                Pa rty sd l crs.
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20                            F e b r u a r y 2.016                                      M .iy .2 0 1 7
                               to April 20:1.7                                         to E n d of 2018
21
                          D M a r k e t p l a c e D T h i rd - P a rty/T h i rd P a rty/ 3 p
22

23
            The RICO Defendants Attempted to Whitewashed Walmart's Catalog Stuffing
24          Scheme to Inflate the Total Number of Walmart Marketplace SKUs.
25
            95.     Walmatt's executives spoke at various venues in an attempt to whitewash the
26
     fact that Walmart's executives ordered their technical team to stuff Walmart Marketplace with
27
     low value and/or low-quality SK.Us in FY l 7, knowing that most of these SK.Us generated
28
                                              39
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1    very little sales, to inflate the total number of Marketplace SKUs reported to investors. Basi­
2    cally, Walmart's senior executively purportedly told investors and analysts that Walmart
 3
     didn't focus on increasing the total number of SK.Us on Walmait's Marketplace but focused
4
     on adding high quality SKUs to Walmart.com
 5
 6
                  Set Up Questions                               Walmart's Response
 7
 8    Marc, and maybe Doug, chime in on           Sure. With respect to the marketplace, we've seen
      this, but I was hoping you could talk       nice growth over the last year, and I think we'll
 9    more about the marketplace, the 3P          continue to see growth on marketplace. But we're
10    business. You've gotten to 50 million       very focused on making sure we have the right
      items really fast; does it level off from   SKUs, the right products. That's the habit, one of
11    here? Or can that keep going? Robert        our bellwethers. And so, it's not for us, just
12    Frederick Ohmes-June 2, 2017.               quantity, it's really the quality of the p roducts.
                                                  Marc E. Lore - June 2, 2017.
13
14    You touched on this a little bit earlier,   There's a finite number of SKUs. So, I'm less con-
      but I want to expand on the -- your as-     cerned about getting to parity on long-tail assort-
15    sortment philosophy. I mean, I think        ment. It's more about getting the b rands that
16    you guys are wmth 50 million plus, at       really matter. So, it's really getting the right prod-
      least as of the end of the first quarter.   ucts as opposed to quality over quantity. Marc E.
17    You were less than, I think, 10 million     Lore - June 7, 2017.
18    even 2 years ago. So, a big growth there.
      Peter Sloan Benedict, Baird & Co Ana-
19    lyst - June 7, 2017
20
      Marc Lore's remarks regarding attract-      "With respect to the long tail, it's really about mar-
21    ing premium sellers and brands to           ketplace. And over the last year, we've grown
22    Walmart.com in Oct 2017 to address the      SKUs from about 50 million to now over 60 mil-
      catalog stuffing issues.                    lion products. One of the things we're going to be
23                                                really focused on over this next year is to elevate
24                                                the Walmart.com brands so we can attract more
                                                  premium sellers to the site, more premium
25                                                brands" Marc Lore, 24th Annual Meeting with the
                                                  Investment Community on 10/12/17
26
27

28
                                               40
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 1   I want to ask a follow-up about assort­      While we're focused on increasing the breadth of
     ment. You mentioned 75 million SKUs          the assortment, I think our primary focus right
 2
     today. You guys ramped really quickly        now is really on quality of t he assortment. With
 3   to that 75 million SKU mark. I'd be curi­    respect to the 3P side, we've been also -- at the
     ous to hear a little bit about your expec­   same time, we're adding new merchants, we've
 4
     tations around the velocity of the contin­   also been culling merchants back that haven't
 5   ued ramp. And any particular categories      been delivering an exceptional experience. And
     that represent meaningful opportunities?     so, we're really focused on making sure that each
 6
     Benjamin Shelton Bienvenu, Stephens          SKU that we sell and each merchant we b ring
 7   Inc.'s Analyst, June 1, 2018.                onboard can deliver a great experience. Doug
                                                  McMillan - June 1, 2018.
 8
 9
     McMillan's remarks regarding attract­        "We've added 1,100 new brands to Walmart.com
10   ing premium brands during the Q2             year-to-date, including Zwilling J. A. Henckels
11   FY19 earning.                                cutlery and cookware, Therm-a-Rest outdoor prod­
                                                  ucts, O'Neill surf and water apparel, Shimano cy­
12                                                cling products and the brands available on the ded­
13                                                icated Lord & Taylor shop, like Steve Madden
                                                  footwear. This is a key area of focus for the team
14                                                because we know that customers value an ex­
15                                                panded assortment of these popular brands."
                                                  McMillan, on the Q2FY19 earn call.
16
17
     Marc Lore stated that Walmart was nei­       Moving over to the long tail, let's j ust start with
18   ther intentional nor reckless when it        marketplace. Marketplace, we were adding SKUs
     stuffed the Walmart.com catalog with         really fast if you remember, it just got to like 70
19
     low quality and/or value from non-repu­      million SKUs last year. We're adding so fast that
20   table sellers to inflate the total number    we hadn't really kept a very high bar in terms of
     Marketplace SKUs to investors during         the quality of the SKUs and quality of merchants
21
     FY l 7. during Walmart's.                    on the site. So last year we took a breather. We
22                                                added more than 20 million SKUs to marketplace,
                                                  but at the same time we took down about an equal
23
                                                  amount. So, the overall quantity didn't change but
24                                                the quality did. The quality is much better. And
                                                  you can see that the Net Promoter Score went up
25
                                                  almost 20 points as a result. October 16, 2018
26
27

28
                                             41
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1                  Downplayed Walmart's Marketplace Profitability and GMV Growth
2
            96.     Walmart's executives walked back on their original assertions that Walmart's
3
     Marketplace/3P is a highly profitable and there was a direct conelation between the total
4
     number of Marketplace SKUs and Walmart's Ecommerce GMV growth.
5
 6                Analysts' Questions                       Walmart's Backpedal Responses
 7
       So, a couple of questions. Second ques-      "Well, with respect to lP, 3P profitability, it's
 8     tion is on l P. Is that ever profitable?     not really about whether it's first party or
       We're not sure it's even profitable for      third party, it's really more the product cate-
 9
       Amazon right now. So, I'm just wonder-       gory. There's still a human and merchandising as-
10     ing if you guys envision that, delivered     pect of this first party and I personally believe the
11     to the home, IP business being profita-      margins are going to be rewarded, because the
       ble. Scott Andrew Mushkin - Wolfe Re-        way the world works, hard work and differentia-
12     search, LLC - MD-June 2, 2017.               tion is rewarded with margins. So over time, first
                                                    party, I think, will be more profitable than
13
                                                    third party 17 . McMillan - June 2, 2017.
14
15     Peter Sloan Benedict, Baird & Co Ana-        Yes. So, I don't want to think about 3P and lP
       lyst, Walmart Conference on June 7,          necessarily in terms of profitability. I think you
16
       2017 As it relates to what [indiscernible]   want to carry a wide or the widest possible assort-
17     on Amazon's [indiscernible] large por-       ment of products. It doesn't make economic sense
       tion of their volumes [indiscernible]        to carry a lot of those SKUs first paiiy because
18
                                                    you don't have the volume. There's obsolescence
19                                                  issues. There's holding costs and things. Lore -
                                                    June 7, 2017. Lore also contracted Bigg's 10/6/16
20                                                  statement. See footnote #2 below.
21
22
23
24

25   17 McMillan contradicted the statement made by Brett Biggs on 10/6/16: "We'll open fewer
26   stores overall, pa1iicularly in the U.S. and we believe over time this will improve our returns
     on capital. Not surprisingly, we'll also focus on accelerating e-commerce growth. Now this
27
     includes Marketplace, which can benefit the profitability mix of the e-commerce busi­
28   ness.
                                                        42
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1           The RICO Defendants Conspired with William H. Thompson to Downplay the
            Materiality of Huynh's Allegations That Walmart Inflated Its Ecommerce Sales
2           and Operating Profit
3
            97.    RlCO Defendant William H. Thompson, SEC's Accounting Branch Chief Of-
4
     fice of Consumer Products, purportedly sent a letter to Brett Biggs on May 22, 2017, asking
5
     Biggs questions related to the allegations in Huynh's 4/19/17 SEC complaint. In the letter
6
     Thompson asked Biggs to explain how Walmart recognized revenue for its Marketplace busi­
7

 8   ness, how Walmart processed customer returns for its Ecommerce business, and how Walmart

 9   handled inventory marked down for Walmart's l P Ecommerce Business. These questions
10   touched on the very same allegations Huynh made to the SEC.
11
12          98.     This letter was pretextual because there were no visible triggers that could

13   have caused Thompson to send the May 22 letter. First, Huynh just submitted his TCR to the

14   SEC so there were no indications that the SEC had opened an MOI into Huynh's TCR. Sec­
15
     ond, Walmart didn't file any reports with the SEC e.g., 8K, l 0Q, and l 0K etc. that discussed
16
     any of the issues raised in Huynh's SEC submission which could have triggered Thompson to
17
     send the May 22 letter. As an example, the table below showed that Walmart didn't report
18
     any changes in the way they marked down stores' inventory and most importantly Walmart
19
20   never discussed about how they accounted for Marketplace seller sales or how they marked

21   down Walmait's l P inventories.
22
23
24
25
26
27
28
                                              43
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1           FYlS Form lOK                     FY16 Form lOK                     FYl 7 Form lOK
 2    The retail method of ac-          The retail method of ac-          The retail method of ac-
 3    counting results in inventory     counting results in inventory     counting results in inventory
      being valued at the lower of      being valued at the lower of      being valued at the lower of
 4    cost or market since perma-       cost or market since perma-       cost or market since perma-
      nent markdowns are imme-          nent markdowns are imme-          nent markdowns are imme-
 5    diately recorded as a reduc-      diately recorded as a reduc-      diately recorded as a reduc-
      tion of the retail value of in-   tion of the retail value of in-   tion of the retail value of in-
 6
      ventory.                          ventory.                          ventory.
 7
      The retail method of ac-          The retail method of ac-          The retail method of ac-
 8    counting requires manage-         counting requires manage-         counting requires manage-
      ment to make certain judg-        ment to make certain judg-        ment to make certain judg-
 9    ments and estimates that          ments and estimates that          ments and estimates that
10    may significantly impact the      may significantly impact the      may significantly impact the
      ending inventory valuation        ending inventory valuation        ending inventory valuation
11    at cost, as well as the           at cost, as well as the           at cost, as well as the
      amount of gross profit rec-       amount of gross profit rec-       amount of gross profit rec-
12    ognized.                          ognized.                          ognized.
13    Judgments made include re- Judgments made include re- Judgments made include re-
14    cording markdowns used to     cording markdowns used to     cording markdowns used to
      sell inventory and shrinkage. sell inventory and shrinkage. sell inventory and shrinkage.
15    When management deter-        When management deter-        When management deter-
      mines the ability to sell in- mines the ability to sell in- mines the ability to sell in-
16    ventory has diminished,       ventory has diminished,       ventory has diminished,
      markdowns for clearance ac- markdowns for clearance ac- markdowns for clearance ac-
17    tivity and the related cost   tivity and the related cost   tivity and the related cost
18    impact are recorded.          impact are recorded.          impact are recorded.

19   Factors considered in the de-      Factors considered in the de-     Factors considered in the de-
     termination of markdowns           termination of markdowns          termination of markdowns
20   include cmTent and antici-         include current and antici-       include current and antici-
     pated demand, customer             pated demand, customer            pated demand, customer
21   preferences and age of mer-        preferences and age of mer-       preferences and age of mer-
22   chandise, as well as seasonal      chandise, as well as seasonal     chandise, as well as seasonal
     and fashion trends. Changes        and fashion trends. Changes       and fashion trends. Changes
23   in weather and customer            in weather and customer           in weather and customer
     preferences could cause ma-        preferences could cause ma-       preferences could cause ma-
24   terial changes in the amount       terial changes in the amount      terial changes in the amount
     and timing of markdowns            and timing of markdowns           and timing of markdowns
25
     from year to year.                 from year to year.                from year to year.
26

27
28
                                                         44
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1           99.    In sh01t, the real purpose behind Thompson's letter was to give Walmart a
2    platform to answer Thompson's questions concerning Walmait's Marketplace and l P busi­
3
     ness (estimated to be roughly $8 Bil in FYl 7 based on Walmart's SEC filings) in the context
4
     of Walmart physical stores (a $500 Bil business) to mask the materiality of Huynh's allega­
5
     tions that Walmart inflated its Ecommerce GMV and Op Profit.
6
7
           Thompson's May 22nd 2017 letter             Walmart's June 16, 2017 response letter.
8
      Further, please include quantitative disclo-    We did not make quantitative disclosure of
 9    sure of your sensitivity to change based on     the sensitivity to change within our Sum-
10    other outcomes that are reasonably likely to    mary of Critical Accounting Estimates dis-
      occur and that would have a material effect     closure related to inventory because it was
11    on the company.                                 not material.
12    For example, with regard to inventories,        For example, a change of 1 % in pennanent
      please indicate whether your estimated in-      markdowns during the year ended January
13
      ventory losses have been accurate or have re-   31, 2017, would have impacted net income
14    quired adjustment; and, indicate the impact     approximately $70 million.
      on net income if there was a 1% change in
15
      the amount of markdowns.
16
      Please tell us how you earn and account         Operating our walmart.com Marketplace
17
      for revenues from third party sales as well     enables us to provide our customers a broad
18    as your consideration of disclosing your ac-    assortment of merchandise that would likely
      counting policy for this revenue stream and     not otherwise be available to them in our
19
      income statement classification.                stores or on our own websites. While the
20                                                    services we provide to third party sellers in-
      In your response please also address whether
      or not third-party sellers maintain ownership   elude the marketplace on which they sell
21
      of their inventory and what services, if any,   and the collection of payments on their be-
22    you provide in fulfilling third-party sales     half, the third parties generally are the pri-
      and returns.                                    mary obligor, maintain ownership of their
23
                                                      inventory, have latitude in establishing
24                                                    prices and are responsible for both product
                                                      fulfillment and returns. As a result, we are
25
                                                      the agent and the third party is the principal
26                                                    in these transactions.

27
28
                                             45
                            COMPLAINT - DEMAND FOR JURY TRIAL
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 1    Please disclose your sales return policy          "The Company recognizes sales revenue,
      and address how you make estimates of             net of sales taxes and estimated sales re­
 2
      the amounts of future returns.                    turns. For the year ended January 3 1 , 20 1 7,
 3                                                      and consistent with previous years, our
      In addition, please provide a rollforward of
      the activity in your sales return allowance       sales return reserve was less than $250 mil­
4
                                                        lion, which we do not believe is material to
      here or in Schedule II, or provide to us your
 5                                                      the Consolidated Financial Statements
      materiality assessment indicating why such
 6    disclosure is not necessary.
 7
 8           100.    Additionally, the RICO Defendants corruptly influenced Francine McKenna, a
 9   Marketwatch.com reporter, to publish an article on 9/13/17 titled "Wal-Mart accounting for e­
10
     commerce, overseas asset sales draw SEC scrutiny" 1 8 to amplify and broadcast Walmart's
11
     purported responses to Thompson's letter to marginalize Huynh's allegations with Walmaii's
12
13   investors, analysts, the SEC and/or the DOJ.

14        As these referral fees have been less than 0.5% of net sales for each of the fiscal years
15        ended January 3 1, 20 17, 20 1 6 and 20 15, we concluded they are not material and
          therefore have not disclosed our related accounting policy," Biggs told the SEC in the
16        letter.
17        The SEC also asked in June about a non-GAAP metric called "eCommerce Gross
18        Merchandise Value" or GMV in its press release. Wal-Maii told the SEC in July it
          defines GMV as "the total US dollar volume of merchandise sold or services rendered
19        for all h·ansactions, including marketplace transactions, that are generally initiated
20        through our eCommerce platfonns or include our owned inventory sold on other third­
          paiiy platfonns. It also incorporates discounts, estimates for returns, shipping fees
21        and referral fees."
22        E-commerce sales at Wal-Mart U.S., where the company is competing directly with
          Amazon, grew 60% in the most recent quarter. Wal-Mart has already increased the
23
          number of products offered on Marketplace to 67 million items, supplemented by
24        items from third-party sellers like Toms and Vans shoes.
25
26
27
     18
        https ://www.marketwatch.com/story/wal-mart-accounting-for-e-commerce-overseas-asset-
28   sales-draws-sec-scrutiny-20 17-09-12
                                                   46
                              COMPLAINT - DEMAND FOR JURY TRIAL
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1                    101.   In late Sept 2017, Huynh emailed deRubertis to inform him that McKessy and
2    Huynh will be meeting with the SEC enforcement attorneys on Oct 5, 2017 in San Francisco
3
     to discuss Huynh's SEC submissions. Instead of replying to Huynh's original email with the
4
     Subject: "Call to sync up tom01Tow, Friday", deRubertis opened a new email thread with a
 5
     Subject that simply read "Huynh:" to reply to Huynh's original email to make sure that there
6
 7   was no direct evidence which proved that David deRubertis had knowledge of Huynh's meet­

 8   ing with the SEC.

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                                                                                                  deR11be11is replied lo my by opening anolher
16                                                                                                email thread with !he snbjecl: "Huynh:".
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                     102.    A short time later, Doug McMillon attempted to whitewash the misleading
19
     statements he made to investors on Oct 6, 2016 that Walmart Marketplace had 8 Mil SKUs
20
     and 20 Mil SKUs in Jan and Oct 2016 respectively by substituting the tenn "Marketplace"
21
     with the term "Walmart.com" in his Oct 2017 presentation to investors and analysts that
22
23   Walmart.com had 8 Mil SKUs and 20 Mil SKUs on Jan 2016 and Oct 2016.

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     Doug Mc�lillon • JI al• \fart Stores Jnr. � Pre·ide11t and CEO Wal-Mal'I Store�, Inc.
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     Aud 1nen in e{ommerce. you ·11· In' :eona �uarter �rfomiancc w        ocl!er loln tn' first �uarter �rfonnanct That'- largely onren 10 11nati hap�nin� 11·i1h Inc
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     Mar�clrlate in lhe U.S. And when \\'� larted !nc ymJn JanUJff,_\\'� nad n�n i!�n_ on our �fo��iplm, Herc in OctO('(f, \\� na1·� 10 mil ion i1em� on Inc
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 8                                                       On Oct 6, �0 16 M �lillon disdo�cd Marketplace had 8
                                                         million SKU on January _Q t6 but on Oct 10, 20 1 7, he
 9
                                                         changed it to \Val mart.com had 8 million SK l. s on Jan 20 I G.
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     201 Investment                                                                                       '/,_ Y 2v:
11   Co munity Meeting                                                                              250th Online Grocery                     Uber S;Jme day
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     Moving With Speed
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14                                                                                       ·i •1\t
         Add 8,000                                                            Noved current associate                     !OM [terns on                     Sold Ylha
15
      Depart me t Managers                                                      wages to $10/hour                         1·1olmart.�om                     invested
16
      On Oct 6, 2016 McMillon disclo cd Marketplace had 20                                                  FEB 2017
17                                                                                                                                               FES 1017
      million SKUs on Oc( 2016 but on Oct JO, 201 7, he changed                                                                          Mobile Expresi Pharmacy
18    to \\'almart.com had 20 million SKU on O t 20 16.                                                /,\oosejaw acquired                       launched
19
20              CC 20t6                               JAN 20)7                           fE8 20!7                             F£8 101}                             Mt
21             20M ' m� oo                     2-D.iy Free Shippi 9                   '/alme launches             Mobile Express Money Services               ModC!o
               w3lmart.com                    on w,ilmart.ccm ordefs                     Club Pickup                        launched
22                                                cf �35 er more                     in all Sam's Clubs
23
24                103.        On that same day, Robert Ohmes published an investment rep01t on Walma1t

25   Inc. where he replaced the tenn "Marketplace" with "Online (Walmart.com)" to purportedly
26   communicate to investors and other analysts that the SKU metric disclosed by McMillan in
27
     FY IY were actually Walmart.com's SKUs. On the same rep01t, Ohmes also provided highly
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                                                             48
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     inflated Jet.com FYI 7 and FY 1 8 Sales forecast to lend credibility to Walmart' inflated Quar­
 2   terly Ecommerce Sales Growth in FY 1 8.

      Wal*Mart Stores
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 5    Analyst Day: Top pick WMT leading the
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 7
      "Discount Store Decade"
 8    Reiterate Rating: BUY I PO: 100.00 USO I Price: 84.75 USO
 9
10
     WMT omni�channel analysis                                                                        Replaced Marketplace with Online/Walmart.com
11   ExM�it h WMT e-commerce uarterl anal sis
12                    U.$. U.S. G.\�/ Owned 01,r«! U.S.                                  Estin\lted             Esllm,Jted Estimlted ll�ll�ns                                             lm�ii1 Eslin\lled           Eslimlled Estinated
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13                                Es\tm'.e                                                     iM ¾Cv �.v % ofG!fV                        SKUs %                                          E•ca11$ Sa�s Is
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15       � 29,111, S&.�o                                                                     P,525.5  $352.SS 10.01/,                       ll      �                                               HQQ:2           FY18 Sales to
          F2017       $15.�.0                                                                IS,196,0 1$19,6 10.0¼                          3S 331,5%                                               suoo. o         lend credibility to
16                                                                                       1
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        ft�•OI 69.0¼ $4,001.0                   63.0% $2,833.0                 630% $2,068.0 78.0" $206.80                    10,0¼            400.0%           610 1580,5 317.4% $514 A8            $500.0    .33, inflated Quarterly
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22                      1 04.                One critical question is "was it coincidental that McMillan didn't attempt to
23
     replace the tenn "Marketplace" with Walmaii.com to report that Walmart.com had 15 Mil
24
     SKU in his Oct 1 7, 20 1 7 PPT presentation to investors. The answer was simply because there
25
     were two components of fraud that went into the repmied 15 Mil SK.Us figure. The first com­
26
     ponent was Walmart's improper counting of Walmaii's l P SK.Us as Marketplace's SK.Us
27

28   while the second component of fraud was the counting of the total number Marketplace S K.Us
                                                   49
                           COMPLAINT - DEMAND FOR JURY TRIAL
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 1   that were added during the first two weeks of Q3 FY l 7 as Q2 FYl 7's Marketplace SKUs.
 2   This latter component of fraud could not simply be whitewashed away by merely playing
 3
     around with the definition of Walmart's "Marketplace" because it involved the timing of the
 4
     Marketplace SKUs recognition. Thus, if McMillon was to communicate to investors and ana­
 5
     lysts that Walmart.com had 15 Mil SKUs, then when the hue about Walmart's misconducts
 6
 7   came out Walmart may be liable for future shareholder fraud lawsuits. This was the reason

 8   why the Walmart Participants relied on the other RICO Defendants such a deRubertis, Ohmes

 9   (see above), Boyle at Bloomberg News and other reporters to do the dirty whitewashing activ­
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     ities on the Walmart Paiticipants' behalf.
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                             COMPLAINT - DEMAND FOR JURY TRIAL
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 1                          Obstruction of the DOL/OSHA Investigation Process
2
               105.     On May 11, 2017 (See DC Dkt. 158-7), deRubertis asked McKessy via email
 3
     to confirm whether the way deRubertis drafted Huynh's OSHA SOX whistleblower complaint
 4
     against Walmait may interfere with any future SEC proceeding. McKessy confinned that it
 5
 6   would not due to the general nature of the allegations. deRubertis filed the complaint with

 7   OSHA that same day.

 8                  deRubertis Wanted to Ensure the OSHA Complaint Won 1t Interfere with SEC Case
 9     From:                              D.:wicl d Rubertis cfavid@cl rl1ber1isl.iw.com
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       To:                                Son,, K McKcssy; rchong@phillips«ndcohcn.com
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26      Subject:                          RE: Connecting S Jn ,111d David 10 ./\lign 011 Trh Cases

27      Thanks for chance to review David. I don't see this as having any impact on our SEC submission.
28
                                                    51
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 1                 106.                On 7/10/17, David deRube1tis purp01tedly asked Huynh via email to do a
 2   quick review of an amended complaint he planned to file with OSHA later that afternoon.
 3
     Huynh reviewed and gave David deRube1tis his feedback. However, unliked in early May
 4
     2017, deRube1tis didn't ask McK.essy for feedback this time. Later that day, deRubertis pur­
 5
     portedly filed a 125-page amended complaint (See DC Dkt. 158-7) with OSHA via fax, email,
 6
 7   and overnight delive1y to Ms. Jonelle Dunn, an OSHA investigator.
                                                                                                                                                                                                                     !I.\IN OFJl((.WJll>:QA.CDU»
 8   THE DERUBERTIS LAW FIRM,APC                                                               i�!Ofll(W'jJ��IPIRUl
                                                                                                                               THE OERUBERTIS LAW FIRM,APC                                                           ◄�UtOUW�Jt!lf,'.Yrrn-"'11''-'£
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20                 107.                Having the benefit of hindsight, Huynh now realized that it made no sense
21   whatsoever for David deRubertis to file a 125-page amended complaint because OSHA had
22
     no such requirement (not even in Federal Court).
23
24         In Erhart v. BOFI Holding, Inc, District Judge Cynthia Bashant wrote "The Comt initially
25         notes that the DOL's regulations for retaliation complaints under § 1514A provide that
           "[n]o particular form of complaint is required." 29 C.F.R. § 1980.103(b). Indeed, a com­
26
          plaint may even be made orally, in which case the complaint "will be reduced to writing
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          by OSHA." Id. This "absence of formal pleading requirements" means "complaints in
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                                                                               52
                                                              COMPLAINT - DEMAND FOR JURY TRIAL
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1           OSHA administrative proceedings are not expected to meet the standards of pleading that
 2          apply to claims filed in federal court under Rule 12(b)(6)." Wadler v. Bio-Rad Labs., Inc.,

 3          141 F. Supp. 3d 1005, 1020 (N.D. Cal. 2015); accord Sharkey v. J.P. Morgan Chase &
            Co., 805 F . Supp. 2d 45, 53 (S.D.N.Y. 2011). See Case 3:15-cv-02287-BAS-NLS Docu­
4
            ment 192 at 13.
 5
 6          Jason Zuckerman, a leading whistleblower lawyer, also established that Rule 9(b) Does
            Not apply to Sarbanes-Oxley Retaliation Whistleblower Claims and that SOX Whistle­
 7
            blowers Need Not Prove an Actual Violation of an Enumerated Fraud Provision in Section
 8
            806. 19 Even David deRubertis himself admitted that a SOX Plaintiff doesn't have to
 9
            plead with specificity even in Federal Court let alone with OSHA. 20
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19     E ,< hnnc� Commi�.sion. (b) W i t h i n 20 d,.Jy!, o f tcccif)t- of t h u notic(• of t he rmng ot t.ho corr1p1,·,tnt. p ro,ddf.!d uridor
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     Cc:
                                     David deRubertis; t�'.ln1ek·a (!!">derubel'ltsla\.v.con1
                                     J�H Ncjdcrn1.)f"I; Tn Hu:ynh
     Suta>Jcct:                      DOL Docketing ..-.nd N o t iHc;.111,h;;,n l,(_:tt{'f'

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     Ocsc Rc:e:ords,

25   Tri Huynh



26   19
        https://www.zuckermanlaw.com/sox-whistleblower-decision-adopts-favorable-pleading­
27   standard-for-whistleblowers/
     20
        https://www.advocatemagazine.com/article/2014-june/protecting-whistleblowers-sarbanes­
28   oxley-s-protected-activity-reguirement.
                                                   53
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 1          108.    For the next several months, Huynh repeatedly asked deRubertis for status up­
 2   date on his OSHA complaints. Specifically, Huynh asked deRubertis to f01ward him the
 3
     complainant notification letter that OSHA sent to the deRubertis Law Firm. Neither deRuber­
 4
     tis nor his office replied to Huynh's request.
 5
 6          109.    It was unusual for deRube1tis to repeatedly avoiding Huynh's numerous re­
 7
     quests because by law OSHA was required to send the complainant notification letter to a
 8
     complainant shortly after receiving his/her complaint. In the letter, OSHA would provide the
 9
     complainant with the case name, assigned case number, the name of the assigned investigator
10
11   and his/her contact info1111ation. 29 CFR §1980.104 (a) 21 , and the OSHA's Investigation Man-

12   ua122 outlined the steps that OSHA typically took to investigate a SOX complaint.
13
14
15

16   21
        (a) Upon receipt of a complaint in the investigating office, OSHA will notify the respond­
     ent of the filing of the complaint, of the allegations contained in the complaint, and of the sub­
17
     stance of the evidence supp01ting the complaint. OSHA will provide an unredacted copy of
18   these same materials to the complainant (or complainant's legal counsel, if complainant is rep­
     resented by counsel) and to the Securities and Exchange Commission. (b) Within 20 days of
19   receipt of the notice of the filing of the complaint provided under paragraph (a) of this section,
     the respondent may submit to OSHA a written statement and any affidavits or documents sub­
20   stantiating its position. Within the same 20 days, the respondent may request a meeting with
21   OSHA to present its position
     22
        Chapter 2-5 stated "As part of the docketing procedures, when a case is opened for inves­
22   tigation, the supervisor must send a letter notifying the complainant that the complaint
     has been reviewed, given an official designation (i.e., case name and number), and as­
23   signed to an investigator. The name, address, and telephone number of the investigator
     will be included in the docketing letter. A Designation of Representative F01m (see sample
24
     at the end of this Chapter) will be attached to this letter to allow the complainant the option of
25   designating an attorney or other official representative.
     Also, at the time of docketing, or as soon as appropriate, the Supervisor must prepare a letter
26   notifying the respondent that a complaint alleging retaliation has been filed by the complain­
27   ant and requesting that the respondent submit a written position statement. Failure to promptly
     forward the respondent letter could adversely impact the respondent's due process rights and
28   the timely completion of the investigation.
                                                         54
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 1             110.      After receiving a SOX Whistleblower complaint from a complainant, a Re­
 2   gional OSHA Investigator Supervisor should open and docket a case in IMS, assign an inves­
 3
     tigator to investigate the case, and send notification letters to both the respondent and
 4
     complainant.
 5
 6         OSHA's investigation manual chapter 5-10 - VII described how an OSHA investigator
 7         should determine the proper complaint filed date before entering it into IMIS. A correct
           filed date for the complaint was critically importantly because it would be used to deter­
 8         mine the timeliness of the complaint.
 9         Documenting Key Dates in IMIS: The timely and accurate entry of information in IMIS,
           as detailed in OSHA Directive IRT O1-00-016, is critically important. A. "Date Complaint
10
           Filed: the date a complaint is filed is the date of the post-mark, facsimile transmittal, e­
11         mail communication, telephone call, hand-delivery, delivery to a third-party commercial
           cmTier, or in-person filing at an OSHA office."
12
13                    OSHA Investigation Process As Required 29 CFR §1980.104 a nd 105
14                                                             Deadline for
          deRubertis filed OSHA send notification letters   Wal mart to submit       Deadline for the Assistant
                                                                                 Secretary of Labor to issue merit
15        OSHA complai nt to de Ru bertis and Walmart       position statement
                                                                                   finding & preliminary orders


               ,-.#, - ------------ -- ------ - -- - � -- -"�'------ ------------- ------- - ----,
16                                              60 days deadline

17                    Avg time to
                           =               20 days deadline
              ,-· --- - --\-·---·- ,---
                    send 14 days
18                         �            --------   ' _______ -- --\
                                                   \
                                                                    \

19
           May 11                   May 25                      June 14                         July 10
20

21
               111.      The respondent notification letter should also inform the respondent that they
22
     may submit a position statement to OSHA within 20 days. Additionally, under 29 CFR §
23
24   1980.105(a) 23 , OSHA must issue a preliminary reasonable cause finding and preliminary or­

25   der for the case within 60 days after receiving the complaint. The chart above outlined the
26

27
     23
         Issuance of findings and preliminary orders: (a) After considering all the relevant infor­
28   i;nation collected during the investigation, the Assistant Secretary shall issue, within 60 days
                                                               55
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 1   timeline that OSHA would have investigated Huynh's 5/11/17 complaint against Walmart if
2    deRubertis did in fact filed the complaint on 5/11/17.
 3
4          Note: The average time it took OSHA to process the complaint and send out the notifica­
           tion letters is about 14 days based on the two SOX case below.
5
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6
 7          •        https://storage.courtlistener.com/re­
                    cap/gov.uscourts.flsd.535106/gov.uscourts.flsd.535 l 06.1.0 1.pdf
 8
                    112.             After a long period of silence regarding Huynh's OSHA complaints, deRuber­
 9
10   tis contacted Huynh in early Nov 2017 and purpo1tedly infonned Huynh that OSHA info1med

11   deRube1tis that Huynh could take his case against Walmart to Federal Comt because OSHA
12   couldn't complete the investigation within the 180 days kick out period. deRubertis flew
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26                                                                          1ms(aJ.
27
     of filing of the complaint, written findings as to whether or not there is reasonable cause to
28   l;)elieve that the respondent has retaliated against the complainant in violation of the Act.
                                                          56
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1    Huynh to Studio City, CA the following week under the pretext of discussing the facts of the
 2   case so deRubertis could file Huynh's complaint against Walmart with the United States Dis­
 3
     trict Comt, N01them District of California by Mid-Dec 20 17.
 4
 5                             Rocky Roads to the US District Court of Northern C�s Doorsteps
 6
                                                   deRubertis intentionally delayed filing the civil complaint by over three months
 7
                                Meeting Wi th Target
 8                              deRubertis in date to f ile    Revised target
                                                                              Bully, Threats and Bully, Threats a n d deRubertis filed
                                Studi o City, CA complaint     d t fl                                                   compla i nt
 9                                                                            intimidations ff1 intimidations #2
                                                               c�: l� i�:

10    5/11 - 7/10                 Mid Nov          Mid Dec        1/10/18         1/31/18          2/12/18                3/15/18
11
     OSHA       OSHA             OSHA Kick                                                                    deRubertis' and PR Agency
12   complaint amended           Out Provi sion.                                                              Executed Media Campaign
     filed   complaint filed
13                                                                                                            OSHA issued right to
                                                                                                              sue letter
14   DOL/OSHA didn't investigate the complaints after 180 days

15
16                             Delayed and Coverup a $140 Bil Shareholder Fraud Scheme
17
              113.      The chart above showed that David deRubertis intentionally delayed filing
18
     Huynh's complaint in Federal Court from Mid-Dec 20 17 to Mid-Mar 20 18. Whenever
19
     Huynh asked David deRubertis for the case filing status deRubertis either evaded or lied
20
21   about the delay e.g., due to health issues and family emergency etc.

22
              1 14.    David dcRube1tis also attempted to deceive Sean McKessy and Rebecca
23

24   Chang about his purpo1ted plan to file Huynh's complaint in Federal Court on Jan 9, 2018 .

25
26
27
28
                                                      57
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 6     Tri hJSadl'iil'II, 11, ari filing hi· complaint in ll�ral toUrt IOffi\lll\)11', l 11ill s�nd )'OU 1Hi;n     Sent:                      Thuisdiy, January 11, 2018 12·08 PM
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 8     wank� to ma.\e sur, I'm not iocomxi about that, as I don'! haw nea1ly 1� SEC 11hi1tkblow1r
       (X�riioc, 1h31 you all hm and I ob1iollilydon't 11in110 imp,111 iour Cl\' 11i1h Tri in any                  Hi Secky,
 9     n1ga1i1� way. Can you confinn we are ok to publicly lile'! Thanks.                                          Thanks for the reply.
10                                                                                                                 David ha1 pushed the filing to ne�I Tueiday or Wedne1d,1y to finish the complaint.
                                                                                                                   I will make 1urc Oa1id will 1cnd you and Sran a copy of !he complaint for your review.
11
12
                   115.              When deRubertis could not keep Huynh away from asking deRubertis to do his
13
     job and file Huynh's complaint timely with excuses and lies, deRubertis resorted to nastiness,
14
     threats, and intimidations to stop Huynh from pushing deRubertis to file the complaint.
15
16
17
18                                                                                                               H, Tri •Sorry tor not giatling in toudl �ith )-OU persooa!:Y tne last couple of
                                                                                                                 days. Had one ot tha WOC"St Cronn·s flare i$ fve l':\.'ld JO recent years but

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 1   Hi Tri - sorry lost a couple days this week unexpectedly. Back on your complaint now. Proba­
     bly send you a draft over the weekend but I will keep in touch. Thanks. I was in court today
 2   against Walmaii again for a case likely getting tried in February. Walmart was not happy
 3   again today. My gloves are off for these fuckers. - David deRubertis Dec 21, 2017

 4                              David deRubertis' Jan 30, 2018 Email.

 5      Hi Tri - I've tried to be diplomatic about this but it's not getting through to you. I feel
        like I need to be less diplomatic and more direct. I hope you'll understand and this won't
 6
        hit you the wrong way. I need you to step back and try better to understand my perspec­
 7      tive. I feel like we talk, you reassure me you want the best product possible and you
        aren't in a crazed rush to get something in your hands, but you just need clear communica­
 8
        tion on timing.
 9
        I'm doing my best to meet your desires, but I'm also doing my best to put together the
10
        best work product. And, a fundamental point in this I probably should have made more
11      clear to you (even though I have said this repeatedly): I don't make my schedule; often,
        my schedule is made for me by emergencies created by cases, courts or clients that I have
12
        to prioritize over non-actual deadlines. Once your case is filed, you will get my priority
13      over clients whose cases are not yet filed. So, while I do my best to predict things, it's
        never near science and it's not uncommon for predictions to prove wrong. Nonetheless, I
14
        did tell you I would communicate timeline and delays to you. I think I have been doing
15      that, but from my perspective, on this issue, you are not doing what I'm asking in return.
        Let me explain why I say that.
16
        Yesterday, I wrote this: "Will touch base in morning if it's not emailed to you tonight.
17
        Hang tight. . .. Approaching the finish line ... @ " So yesterday I told you I would reach
18      out to you in the morning. But, true to form, at 8:47 a.m. this morning you're already
        emailing me. As if that wasn't enough, then at 9:25 a.m. you're texting me. Yet again,
19
        you don't even give me the chance to do what I say before you're bombarding me with
20      what I perceive as "where is it" communications.
21      My question to you: Is this really necessary? You really couldn't sit tight and wait to hear
        from me without before even 9:00 a.m. reaching out? I sure did plan to reach out this
22
        morning but, frankly, was so annoyed that you're already at it that I didn't.
23
                                David deRubertis' Feb 12, 2018 Email.
24
        Hi Tri - Just saw your text from yesterday. Please stop. You are beating me down to the
25
        point of discouraging me from doing my best work. I cannot tell you this again. You
26      will respect it, or we don't work together. I told you before: NO, I'm not just sending
        you the work in progress until I feel it is ready to turn over to you. I told you that last time
27      around. To now ask for me to do that again, is to return to the process of not listening.
28      You are being your own worst enemy by continuing this pattern. I'm trying to do this
                                                        59
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 1        the way that works for me because that is what produces the best result for my clients.
          I've been 100% transparent about my process to you. I've told you I don't just placate cli­
 2
          ents to make them happy. I focus on doing the work on the case the way that will produce
 3        the best result, even when it annoys clients. I've told you this directly over and over, in­
          cluding in our initial meetings. Nonetheless, I keep feeling pressure to placate you
 4
          and make you happy. If you want me to be that lawyer, so1Ty, I won't. I'm not going to
 5        keep feeling the pressure to account to you on meeting fictional deadlines. I told you this
          weekend about the real reality of deadlines. And I've been putting as many hours as I can
 6
          into finalizing your complaint, re-reviewing ALL of the documents to make sure I'm not
 7        overlooking anything in te1ms of the theory we are pitching in it, etc. 24 I want to do this
 8        the right way, and I need to stop being asked to predict when it is in your hands because
          the end result is that process just leads to more frustration. Don't you see that if you keep
 9        breathing down my neck, it just incentivizes me to huny up and finish rather than take the
10        time to do the best result???
          But, I've also concluded it makes no sense to tell you when I expect to turn it over be­
11        cause then I keep feeling a pressure to rush to meet a false deadline rather than working
12        the way ALL MY OTHER CLIENTS ALLOW ME TO WORK. Yes, I'm writing that in
          caps for a reason. YOU ARE THE ONLY CLIENT WHO MAIZES ME FEEL LIIZE I
13        HAVE TO FOCUS ON PLACATING YOU RATHER THAN DOING THE BEST
          WORK.
14
15           116.    In sh011, deRube1tis' purpo1ted justifications for the delaying filing the com­
16
     plaint was 1) deRubertis was busy with other cases, and 2) deRubertis needed more time to
17
     draft a comprehensive and high-quality complaint i.e., a 70-page complaint. deRubertis' jus­
18
     tifications for the delay were bogus for two reasons. First, deRube1tis knew that he didn't
19
20   have to plead with specificity in a SOX employment retaliation case nor was he required to

21   prove that Walmart committed fraud against shareholders. Second, deRubertis contradicted

22   himself when said he said he was busy and needed more time because at the same time that
23   deRube1tis delayed filing Huynh's complaint David and Kari deRube1tis ordered their associ-
24
25
26   24
        As discussed in paragraph X above, my case is a SOX retaliatory termination case not a
27   class action shareholder fraud case so deRubertis didn't have plead with specificity and prove
     that Walmart actually committed illegal conducts. So deRubertis didn't need four months to
28   draft a complaint.
                                                        60
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1    ates to contact and rnsh Huynh's primary care physician and psychiatrist to expedite the pro­
2    duction of Huynh' s medical and psychiatrist records stating due to comi filing deadlines.
 3
       The Reasons Jessica Bunkofskc Ga\'c to Huynh's jJcdkal ProYidcrs to Expedite Record Production
4
       Contradicted with deRubcrtis' Stated Reasons to Delay Filing Huynh's Civil.
 5
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 6    THE
      ---�RUBERTIS JAW FJRM.�11:
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                                            Back to the Future - February 1 8, 2018
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              117.            Huynh struggled for the last several months trying to answer a fundamental
21
     question "Why did deRubertis repeatedly delay filing Huynh's complaint? What were deRu­
22
     bertis' trne motives? In early Sept 2020, Huynh stumbled on two recent rulings regarding the
23

24   loss causation requirement of a securities fraud class action lawsuit brought under § 1 0(b)(5).

25   These cases gave Huynh the inspiration to investigate and answer the questions above. The

26   first case was PAUL HAYDEN, et al., Plaintiffs, v. PORTOLA PHAR-MACEUTICALS,
27

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                                      COMPLAINT - DEMAND FOR JURY TRIAL
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 1   INC., et al., (Case 3:20-cv-00367-VC) out of the United States District Court, Northern Dis­
2    trict of California.
3
 4       https://www.govinfo.gov/content/pkg/USCOURTS-cand-3 20-cv-
         00367/pdf/USCOURTS-cand-3 20-cv-00367-1.pdf
 5
         In his ruling, District Judge Vince Chhabria wrote: "To satisfy this element, the plaintiffs
 6
         must allege that the revelation of the identified omission was a substantial factor in
 7       cause the company's stock price to decline, thereby causing an economic loss for its
         investors. Nuveen Municipal High Income Opportunity Fund v. City of Alameda, Cali­
 8
         fornia, 730 F.3d 1111, 119 (9th Cir. 2013). This is frequently achieved by identifying the
 9       date that "the truth is revealed" through some public announcement and then describing
         how much the stock dropped thereafter, often bolstered by statements from analysts citing
10
         the revelation as the cause for investor concern. See, e.g., In re Daou Systems, 411 F.3d
11       1006, 1026 (9th Cir. 2005).

12           118.    The second case was out of the United States Court of Appeals for the Ninth
13
     Circuit. IN RE BOFI HOLDING, INC. SECURITIES LITIGATION (Case No. 18-55415).
14
     Circuit Judge Kenneth LEE wrote the following in his dissenting opinion (the bullet points
15
     were Huynh's remarks)
16
17
             https://cdn.ca9.uscourts.gov/datastore/opinions/2020/10/08/18-55415.pdf
18
         "Philosophers have long debated the question, "If a tree falls in the forest but no one is
19       around to hear 'it, does it make a sound?" This case perhaps presents the converse of that
         conundrum: If there is no fraud, can a securities fraud lawsuit still proceed?"
20
21       •   Walmart not only made sure that no one was around to hear the truth about their $140
             Bil fraudulent scheme against Walmart's investors but they also used their wealth,
22           power, connections in high places, high-price lawyers, and PR agencies to banish
23           Huynh from society, friends, colleagues, and even family members to destroy Huynh's
             life and leave him for dead. Huynh currently was forced to wander in the wilderness
24           and some barren wastelands for speaking up and telling the truth about Walma1t's ille­
25           gal conducts to protect Walmart's shareholders and the American public from ha1ms.

26
         Below are the excerpts from the book "Whistle-blowers Broken Lives and Organization
27       Power" by C. Fred Alford. This book described the extend corrupted Corporations went
28       through to shot the messenger in order to cover up their crimes.
                                                      62
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1          "I think the whistleblower has as much to teach us about politics as about suffering.
           Or rather, it is the suffering of the whistleblower that connects these two terms.
2
           The story of the first scapegoat will tell us why. Part of the ancient ritual among the
 3         Hebrews for the Day of Atonement, the instructions for the sacrifice of the scapegoat
           are found in Leviticus 16:21-22: "The priest shall lay both his hands on [the scape­
4
           goat] and confess over it all the iniquities of the Israelites and all their acts of rebel­
 5         lion, that is, all their sins; he shall lay them on the head of the she goat and send it
           away into the wilderness in charge of a man who is waiting ready. The goat shall
 6
           carry all their iniquities upon itself into some barren waste and the man shall let it go,
 7         there in the wilderness.""
 8         Think about how much the scapegoat must know. For many whistleblowers this
 9         knowledge is like a mortal illness. They live with it, and it with them, every day and
           night of their lives. They do not just lmow the sins of the tribe. They are afflicted with
10         them. My plan has been to follow the scapegoat into the desert of his exile and there
11         to study his affliction so that I might learn the sins of the tribe. You might reply that
           not only is this way of putting it melodramatic, but how much I can learn depends on
12         how articulate and thoughtful the whistleblower is. About the first objection you will
13         have to decide for yourself. About the second, there are ways of listening that do not
           depend on the articulateness of the whistleblower. Not everyone is creative, but every­
14         one has a creative unconscious. Not every whistleblower is articulate, but there is elo­
15         quence even in silence and cliche if we are prepared to feel its sources. To put the
           same point another way, I learned most from those whistleblowers who seemed to feel
16         their experiences most deeply, whether or not they were able to articulate them. When
17         I listen to whistleblowers, I feel awe at one who has stepped outside the skin of the
           world and lived to tell about it. The whistleblower has become sacred, a te1m whose
18         original meaning was both blessed and cursed. Daniel Ellsberg, the whistleblower who
19         leaked the Pentagon Papers, said that his former friends and colleagues regarded him
           with neither admiration nor censure but with wonder, as though he were a space­
20         walking astronaut who had cut his lifeline to the mother ship. What was this
21         mother ship? Was it the academic military-industrial complex, the system, the organi­
           zation? Call it what you will, it is not so much a precise concept as an overwhelming
22         feeling. Every chapter aims to explain this feeling. Every chapter is written from the
           perspective of this feeling. This is not because the feeling is so important in itself but
23
           because of what it tells us about the forces that hold society together and their conse­
24         quences: the willingness of most people to do anything not to be sent space-walking.
25      Judge Lee continues:
26
        "The majority believes that Erhart's allegations in his separate whistleblower lawsuit
27
        against Bofl are plausible enough to constitute a "corrective disclosure" under Rule 1Ob-
28
                                             63
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 1      S 's loss causation requirement. But what if it turns out that Erhart's allegations in his law­
 2      suit are bunk? What if he is mistaken? Perhaps he misconstrued certain information be­

 3      cause, as a fairly ,j unior level employee, he did not understand or have access to all the
        facts. Or what if (as Bofl suggests) he is a loose cannon who has a messianic zeal for
 4
        seeing wrongdoing where none exists? At this point, we simply do not know, especially
 5
        with no other evidence or disclosure to co1rnborate Erhart's claims in his lawsuit But we
 6      do know that Bofl has not issued any financial disclosures that would confirm Erhart's al­
 7     legations that he first aired in 20 1 5. Bofl has not done so, even though the U.S. Depart­
 8      ment of Justice, the Securities and Exchange Commission, and the Treasury Department

 9      have reportedly investigated Bofl. And apparently at least one SEC investigation that be­
        gan in 20 1 5 has already closed with no action.
10
11      Put another way, five years have passed since Erhait first disclosed allegations of miscon­
12      duct at Bofl, and multiple government agencies commenced investigations into Bofl. Yet

13      so far, we have not seen any external evidence corroborating Erhart's allegations. So, it
        may tum out that there may be smoke but no fire.
14
15      But based solely on a midlevel employee's self-interested allegations in a separate law­
        suit, we are allowing a securities fraud lawsuit to move forward. It is premature to do so.
16
        Erhart may ultimately be vindicated, and perhaps the government investigations will even­
17
        tually expose fraud, but we should not let a securities fraud lawsuit proceed when, at this
18      point, there may no there there.
19
        We may end up with a scenario in which Erhart loses his whistleblower trial, and the
20      government agencies end t heir investigations without any action - and yet Bofl may
21      end up settling a securities fraud case for millions of dollars to avoid litigation c
22      In short, if a securities fraud lawsuit turns on insider allegations of wrongdoing in a whis­
23     tleblower lawsuit, I would prefer a bright-line rule that requires an external disclosure or
24      evidence that confirms those allegations. It need not be a mea culpa from the company,

25      but perhaps a surprise restatement of earnings, an unexplained announcement about an in­
       crease in reserves, or some other information that confirms those allegations and thus acts
26
       as a corrective disclosure.
27
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                                                       64
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1      Page 35 Footnote #1: "Some may argue that such a requirement may create perverse incen­
2      tives for a company not to make a corrective disclosure. Perhaps it might in the short run,

 3     but a wrongdoer can balance its house of cards for only so long until it ultimately col­
       lapses. Insider allegations of wrongdoing almost always lead to govermnental investiga­
4
       tions, and the trnth ultimately comes out under scrutiny."
5
6       •   It took a decade for Bernie Madoffs house of cards to fall. However, by then he had
            ripped off Billions of dollars from hard working American families and destroyed
 7          their hopes, dreams, and livelihoods.
 8      •   The same thing also happened with Emon, WorldCom, Tyco, HealthSouth, Freddie
            Mac, AIG, Lehman Brother, MCI, Lucent Technologies, and Chart Communication.
 9
        •   How long should we as a society allow for the fraudulent Corporations' house of cards
10
            to fall before, they pe1manently injure the American public?
11
12       https://www.icpas.org/information/copy-desk/insight/article/summer-20 l 3/the-21st-cen­
         turys-top-10-frauds
13       https://list25. com/25-biggest-corporate-scandals-ever/
14       https://en.wikipedia.org/wiki/List of corporate collapses and scandals
15
            119.    The rulings above were like the DeLorean in the Movie Back to the Future be­
16
     cause they took Huynh back in time to Feb 18, 2018 when Walmart's stock crashed by 10%
17
18   after Walmaii announced that they missed analysts' expectation regarding Walmart's Q4

19   FY18 Ecommerce sales growth. For the last several months, Huynh read numerous

20   Walmart's l 0Ks, l 0Qs, and 8Ks filings, Walmaii's earning calls and other events' transcript
21
     as well as numerous analysts' reports on Walmart Inc then Huynh modeled Walmart's Quar­
22
     terly Ecommerce growth with and without the Jet.com FYI 7 and FY18 sales contribution.
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1                                            Lied Big or Go Home!
2
            120.    Based on his analysis, Huynh discovered that Walmait's senior executives
 3
4    (Marc Lore, Dough McMillon, Brett Biggs, and others) artificially inflated Walmait's Ecom­

 5   merce quarterly sales growth to purp01tedly show explosive quarterly growth rates of 63%,
 6   60%, and 50% for Q l , Q2, and Q3 FY18 respectively. As a result of these misleading results,
 7
     Walmart's Market Capitalization increased by roughly $140 Bil during FY18. However, af­
 8
     ter, Walmart announced on Feb 18, 2018 that Walmart's Q4 FY18 Ecommerce Sales growth
 9
     collapsed to 23% from 50% in the previous Quarter, Walmait's stock price dropped by 10%
10
     on the same day then continued to drop from a height of $109 in late Jan 2018 to $82 on May
11
12   29, 2018 (a $27 drop), wiping out roughly $80 Bil in Walmait's Market Capitalization valua­

13   tion. This definitely satisfied the causation prong of a 10(b)(5) class action lawsuit and obvi­
14   ous made the RICO Defendants' "Truth on the Market" Defense asserted in Mid-March 2018
15
     a laughing stock. Investors who bought and sold stock during the misleading period may have
16
     already been harmed by Walmart's fraudulent acts.
17
18          121.    The Chart below showed that during period where Walmart's senior executives
19
     artificially inflated Walmart's Quarterly Ecommerce Sales Growth (discussed above) which
20
     drove Walmart's Market Cap to increase by $140 Bil then subsequent collapse, CalPERS dis­
21
     posed roughly 7,35,000 share of Walmai·t stocks. If CalPERS25 had bought Walmart's stock
22
23   at a higher price, then later sold it a lower price, then two million hard working Californians

24   may have been harmed by Walmait's fraudulent conducts.
25
26
27

28   � 5 https://www.calpers.ca,gov/
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16             122.     Walmart's senior executives artificially inflated Walmart's Quarterly Ecom-

17   merce Sales Growth in FY18 in two significant ways. First, Walmart misleadingly disclosed
18
     to investors in Oct 2016 that Jet.corn's annual GMV run rate was $1.2 Bil when in actuality it
19
     was closer to $.6 Bil. See Exhibit III- SEC Jan 2018 Submission at page 2. As a result of the
20
     inflated GMV run rate for Jet.com FY l 7 and FY l 8 GMV which led analysts materially in­
21
     flated their forecast of Jet.com GMV for FY l 7 and FY18. Second, based on the inflated
22
23   Jet.com FY 17 and FY18 Jet.com GMV, Walmart recognized all of Jet.com FY l 7 and FY18

24   GMV as Jet.com sales. However, this was not GAAP compliance because Walmart should
25   have only recognized the seller commission fee (about 15% of GMV) generated from Jet.com
26
     Marketplace's GMV as Jet.com sales not the entire Marketplace GMV amount. Walmart
27
     lmew this fact very well because this was the precise answer that Mr. Biggs gave to Mr.
28
                                                 67
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 1   Thompson in Mid-2017.
 2
      SEC May 2017 Letter to Walmati.                  Walmart's Reply Letter in June 2017
 3

 4    Revenue Recognition.                             Walmart's Methodology.
 5   Please tell us how you earn and account for       We are the agent and the third party is the
     revenues from third patiy sales as well as        principal in these transactions. We earn
 6
     your consideration of disclosing your ac-         and account for referral fees from these
 7   counting policy for this revenue stream and       transactions on a net commission basis,
     income statement classification.                  which we present in net sales in the Com-
 8
                                                       pany's Consolidated Statements of Income.
 9
10
            123.    In sh01i, deRubetiis' reasons for delaying filing Huynh's complaint were not
11
12   Because deRubertis was too busy nor because he wanted to draft a beautiful and high quality

13   complaint (on the contrary deRubertis shotgun pleaded five wicked ADHD FEHA claims in

14   Huynh's complaint) but because he had ulterior motives i.e., deRubertis delayed the filing to
15
     give the Walmart Participants the run way they needed to execute a plan to conceal the fact
16
     that they ripped off Walmart's shareholders to the tune of $140 Bil.
17

18          124.    Walmart's senior executives knew by late Nov and Early Dec 2017 during the
19   shopping holiday season that Walmart will miss analysts' expectations regarding Walmart's
20
     Q4 FY18 Ecommerce sales growth. Thus, the RICO Defendants planned and executed a
21
     campaign of factual misrepresentations and/or half-truth justifications to mislead Walmart's
22
     investors, analysts, the media, and the SEC etc. in order to cover up the facts that Walmart
23
24   had artificially inflated Walmart's Quarterly Ecommerce Sales growth in FY I 8 to jack up its

25   Market Cap by $140 Billion. Walmart's senior executive provided two purported justifica­

26   tions for the Ecommerce sales short fall.
27
28          125.    First, Walmart intentionally stopped unprofitable sales of items that apparently
                                              68
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 1   juiced prior year holiday online result (Walmart found items being sold by resellers) i.e.,
 2   Walmart didn't want to lose more money during the Q4 FY18 holiday shopping season. Sec­
 3
     ond, Walmart encountered operational problems at their FCs when they tried to swap out
 4
     every day items (grocery and consumable) with holiday merchandises during Q4 FY18. Alt­
 5
     hough, Walmart claimed this had a minor impact on slower Ecommerce sales growth Huynh
 6
 7   believe it was not the case. The key question here is whether the two purported explanations

 8   that Walmaii's senior executives gave to investors and analysts were truthful? Base on the

 9   analyses below Huynh came to believe that these justifications were not truthful or at the very
10
     best they were half-true for two reasons.
11
12          126.    First, Walmaii's senior executives claimed that Walmart didn't want to be too

13   promotional during the FY18 holiday seasons because Walmart didn't want to lose more
14   money was not credible in two ways. First, when Huynh asked McMillan during a town hall
15
     meeting with Walmart.com's employees in late 2016 "How would Walmart closed the Ecom­
16
     merce sales gap with Amazon?". McMillan's answer was simply Investment matter! We
17
     have to put more fuel on the fire not less. So, losing money could not be the real reason for
18

19   missing an important metric analysts used to value Walmart's stock.

20
            127.    Especially, when Walmart's senior executives knew that investors were willing
21
     to overlook operating margin short fall in the short to medium term as long as Walmart deliv­
22
23   ered high Ecommerce Sales growth. Second, Walmart was spending money like a drunken

24   sailor to buy both US same stores sales and US Ecommerce sales growth at the expense of US

25   operating margin.
26

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      Figure 4: D igita l G rowth D riving M u l t i p l e s
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10   Sour e: Cowen and Company. Comp ny Reports. Thomson One: n o te: P/E FY2

11
12                128 .   The chart below i s scatter plot between Walmart's U S operating margin and

13   same store sales growth. Since taking over as Walmart Inc. ' s CEO, McMillan bought US
14   same-store sales growth at the expense of operating margin. (i.e., he was willing to lose or
15
     make less money). Although, Walmart's US SSS increased to around 3%, Walmart's US op­
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     erating margin eroded significantly from the 7% to 8% range under McMillan's predecessors
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     to around 5% under McMillan's leadership.
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                                                                       Walma rt's US Quarterly SSS
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                     129.          Additionally, Walmart lost Billions of Dollars on its Ecommerce business
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     since FY12 in order to buy growth. Thus, it was difficult to believe that someone that spent
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     money like a drnnken sailor suddenly woke up one day and decided to be frngal.
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 1            130.     Second, Walmart's purpo1ted explanation that the FC operational problems
 2   during the FY18 holidays season was a minor contributing factor to Walmait's slower Ecom­
 3
     merce sales growth was at the very best half-truth. Huynh believes that while it was true that
 4
     Walmart encountered operational issues when they tried to swap out the bulky and heavy gro­
 5
     cery and consumable items with holidays merchandises. Huynh does not believe that the im­
 6
 7   pact of this problem was a minor factor in Walmart's slower Ecommerce sales growth.

 8            131.     The chart below showed that Walmart.com's Ecommerce sales growth (with­

 9   out Jet.com contribution) was averaging about 36% between Ql and Q3 of FY18 but sud­
10
     denly dropped by 20% to 16% during Q4 FY18. What this showed was that Walmait over­
11
     stuffed their FCs with grocery and consumable items during off peak season in FY18 to max-
12
     imize Ecommerce sales.
13
      Online Grocery and the Jet.com Acquisition Are the Key Drivers That Helped Wal mart Cross the
14    Chasm to Purportedly High Ecomrnerce G rowth in FY18

15
        70%
16                                           63%
        60%                                                          60%
17                                                                              US .Ecommerce
                                                                                    Growth
18
        50%
19                   · Walmart.com Growth

                       Jet . com Growth        40%
20      40%

21
        30%
22                                                                                                                      20 %
                          20%
23      20%
                          16%
24
25      10%

26
         0%
27                   Average              Ql FY18              Q2 FY18              Q3 FY18              Q4 FY18
           Sovrcc: Estimated Walmart U S Ecommen:e sales growth based o n Wolma fl 's SEC filings and analyst reports
28
                                                   72
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 1          132.    However, it was more likely than not that Walmait failed to foresee the huge
 2   operational challenges of swapping out bulky and heavy grocery and consumable items with
 3
     general merchandise/holiday items. Huynh believes Walmait's challenges in bringing holiday
 4
     ass01tments to their FCS materially impacted Walmaii's Ecommerce sales growth during Q4
 5
     of FY18 for two reasons.
 6
 7          133.    First, customers did not simply buy more grocery and consumable items during

 8   the holidays. On the other hand, customers spent significantly more money on general mer­

 9   chandise products during the holiday shopping season. For example, a typical online re­
10
     tailer's sales in Q4 usually double that of a nonnal/off peak quarter.
11
            134.    Second, grocery and consumable products are bulkier and take up more space
12
     than general merchandise products. Imagine how many general merchandise items a 12 rolls
13
     of paper tower would displace. So, for every consumable item that Walmaii was unable to
14
15   swap out of their FCs Walmart lost sales on multiple General Merchandise items. Addition­

16   ally, General Merchandise items often have higher average selling prices than consumable
17   items. Loss of general merchandise item sales resulted in further sales declined for Walmait.
18
            135.    Several days after McMillan announced that Walmait Q4 FY18 Ecommerce
19
     sales growth collapsed to 23% from 50% in the previous quarter (a 30% drop), Matthew
20
     Boyle published an article on Feb 23, 2018 to misrepresent the reasons behind Walmart's
21
22   slower Ecommerce sales growth to conceal the fact that Walmart was driving its Ecommerce

23   sales growth in FY18 by selling more low margin grocery and consumable products instead of

24   selling the high margin general merchandise products26 as purportedly implied by Walmart.
25
26
     26
27     If investors and analysts knew that the majority of the Ecommerce sales growth was com ­
     ing from grocery and consumable then it would shatter Walmart's purported Ecommerce bas-
28   ket growth strategy
                      . because the cornerstone of this strategy was to earn low margin (maybe
                                                      73
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1               136.         In hist aiticle, Matthew Boyle purpo1tedly attributed the reason for Walmart's
2    slower Ecommerce sales growth was due to Walmart's inability to fulfill the flood of cus­
3
     tomer holiday gifts orders (indirectly implied that customers loved Walmart's general mer­
4
     chandise products very much but Walmait was not able to fulfill their orders). However, this
 5
     completely contradicted with what Walmart's senior executives were telling investors and an­
 6
 7   alysts i.e., Walmart's slower Ecommerce sales growth was intentionally because Walmart

 8   didn't want to be too promotional and to some small extend, Walmart had difficulties in

 9   swapping out grocery and consumable products with general merchandising products. In
10
     sho1t, it was the lack of product offerings drove slower Ecommerce sales not Walma1t's ina­
11
     bility to fulfill the tsunami of customer gift orders during the holidays.
12
13     Digital Downshift
       Walmart's online expansion decelerated in its latest quarter
14     ■ U. . . -comm re - sal0s growl!,
                                                                                                        80'1/o
15
                                                                                                        60
16
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17
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18
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               0'1                              O'I        02               03                 04
20            2017                             2 0 18
       ' 'Olll'CO; W,.tlnl( II I

21     NOl (•i: n:.ict l i y� n, onr l:. ; , Jnn. �� I



22
          https://www.bloomberg.com/news/articles/2018-02-23/walmart-s-amazon-killer-goes­
23        from-superstar-to-man-on-hot-seat
24
25
26
27
     even lose money) with click & collect grocery and consumable offering then earned high mar­
28   gin by getting customers to buy general merchandise e.g., Apparel and Home products.
                                                                74
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1
     Boyle' s statements             Walmart's disclosures on Feb 18        Remarks
2
 3    But the first crack came        "Yes. So, the operational chal-    Walmart stated the lack of
      over the holidays. An in-      lenges that I mentioned were more holiday (general merchan-
 4    flux of gift orders over-      around fulfillment. And so, as you dise) offerings was the
 5    whelmed Walmart's sup-         start -- you always have this chal- main contributing factor
      ply chain, leaving no          lenge. As you start pulling more    to the slower Ec01mnerce
 6    room for everyday items.       seasonal inventory into a fulfill-  sales growth not
 7    Sales rose 23 percent, a       ment center, where you have         Walmart's inability to
      slower pace than both Am-      everyday goods, you can have        fulling the tsunami of in-
 8    azon and Target over the       some challenges with that." Brett coming customer orders.
 9    same period. Feb 23 , 2018.    Biggs - Mar 2018.

10
11
12           13 7.   Furthe1more, Boyle published an online article on 4/13/18 27 to purportedly

13   emphasize and accentuate the spectacular collapse of Jet.com website traffic to down-play the
14   success of Jet.com in order to direct investors ' and analysts' scrntiny away the fact that
15
     Walmart had improperly inflated Jet.com FY I 7 and FY18 sales to inflate Walmart's Quar­
16
     terly Ecommerce sales growth in FY 18 .
17
                                            Jet.com is losing altitude.
18
          Walmart Inc., Jet's owner, has increased marketing of its primary website while scaling
19
          back promotion for Jet. While the shift may help maintain the retailer's declining profit
20        margins, the impact has been felt on Jet's website, where traffic declined about 60 per­
          cent in March compared with a year earlier. according to data tracker SimilarWeb.
21
22        "So long as Walmart's numbers are strong it doesn't matter what happens to Jet," said Su­
          charita Kodali, an analyst at Forrester Research. "This makes it easy to sunset Jet and fo­
23        cus on Walmart. I'm not sure, honestly, why Jet is even still around."
24
25
26
27
     27
        https://www.bloomberg.com/news/articles/2018-04-13/walmart-s-jet-traffic-declines-as-
28   hipsters-prove-costly-to-reach
                                                  75
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 1
      Jet Crash
 2
      Traffic to Jet.com site has fal len as Walmart has reduced the site's marketing
 3    efforts
      ■ Jet.com monthly site visits
 4                                                                                                 40 M
 5

 6
 7

 8

 9
10
11       Jan Feb Mar Apr May Jun           Jul Aug Sep Oct Nov Dec Jan Feb Mar
        2017                                                                 2018
12    Source: SirnilarWeb
13
14                    The RICO Defendants' D-Day: Truth on the Market" Offense
15
            138.   Shortly after Walmart's Q4 FY18 earnings call, deRubertis repeatedly con­
16
     tacted Huynh to specifically ask for evidence that would prove Walmart engaged in illegal
17
18   conducts by making misleading statements to investors about the total number Marketplace

19   SKUs on Walmart.com and by inflating its Ecommerce GMV and Op Income due to Walmart

20   intentionally not processing process customer returns and failure to mark down obsolete in­
21
     ventory. deRubertis gathered this information then worked with the other RICO Defendants to
22
     concoct a strategy to use the Mar 15, 2018 complaint as a platform to whitewash evidence of
23
     Walmart's conducts and to disseminate factual misrepresentations across the Internet and ma­
24
     jor business news cable networks for two purposes: 1) To destroy Huynh's credibility with the
25

26   SEC i.e., by making the statements in the Mar 15, 2018 complaint contradicted with the alle­

27   gations in Huynh' s SEC submissions and 2) to falsely assert Walmart's "Truth on the Market"
28
                                             76
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 1   Defense. 28 to mislead the SEC, Walmart's investors, investment analysts, the media and other
 2
     governmental agencies that there was zero loss causation to Walmart's stock when Huynh's
 3
     disclosures became public.
 4
 5                                                                                     OI IM

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11                                                                                     1101
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12         II
           This rololos to Pongocn rofund pr�osslri9 in Morell 2016. Did u rMko
13         any sPoQfk: complo!nts reports about thts oxoct 1s6uo? Or 1•,ero v [vst
           purt of dlscussioos obout it, What I lovo is lli<l acxno-.-�edgomcnt that
14         they nood to er ato an audit pcocoss which is an Qdmlsslon of
          Inadequate Internal con�Ols potentially

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21
                                                                                       8$. likewise. Mr. lluyhn observed similar mi1rcprmntatioos regarding total 1ellc1
22        And rs Pangaea what piomptcd this?                                           nvmbcrs_ for mmple, by WJY of illustralion and not by w.y of tmitatlon, Wal•M3rt was
                                                                                       reporting the total numbei oJ .1eller1 who had bcM ooboa1ded with Wal,Mart, cegardlrn of
23        In other words did tho Pnngoco situation lend to tno b� pktwo control        whether the 1ellcnvaiactually live Jnd ready and able to sell on \lhlmaruom. This
          '-OJlCCm 01 was it tho combo of Pangaea plvs commlss:oo occuracy             misrep,escntation of seller numbers was °'curring on both Walmar1.com and Jct.com, For
24        lssvos7                                                                      example, al one polnt M1. liuynhobserved that Jct.com was 1eporting over thirteen thousand
                                                                                       (B.000) sc!lm when, in fact, just over thre thousand five hundred (3,SOO) were actually l�·e
          01 total colnddenco lo tho Urning between tho commission emalt and l/lo
25        Pongaoa 11np1ocoS$0d rolurn discovery
                                                                                       on the site - ovN six thousand (6,000) were deemed "inactive• and another over three
                                                                                       thousand two hundred (3,200) were not yet liv�. �110 W !mart�-
26
     28
27       Since David deRube1tis was Huynh's lawyer at the time, anything he put in the complaint
     about Walmart's misconducts (and Huynh ADHD conditions) would be construed as coming
28   �iirectly from Huynh's mouth.
                                                    77
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1           139.    For example, Huynh alleged in his 4/19/17 SEC submission that Walmart in­
2    tentionally failed to process its Ecommerce customer product returns for months at a time to
 3
     overstate its GMV by approximately $384M USD, and inflated its operating income by ap­
4
     proximately $126M USD. Despite, having this knowledge, deRubertis cheITy picked the $7
 5
     Mil customer returns amount out of thin air then intentionally inse1ted it in paragraph 51 of
 6
 7   Huynh's 3/15/18 complaint even though Huynh repeatedly told deRubertis not to do so. The

 8   $7 Mil figure was later broadcast Globally across the Internet, CNBC, and Bloomberg News.

 9
10    deRube1tis 3.8.18 Draft Paragraph 51          Feedback Provided to deRubertis on 3 .9.18

11    Mr. Huynh also learned of other system        We should remove the first paragraph on Pan­
12    problems within Wal-Mart's online Mar­        gea system as most of the issues I identified are
      ketplace platform, including a major flaw     related to GMP. The only issue on Pangea that
13    or eITor within Wal-Mart's Pangaea sys-       I know of was the incorrect processing of cus­
14    tem, which ____. Also, in or about            tomer returns.
      March 2016, Wal-Mart received a com­          The last paragraph was not correct. In this case,
15    plaint from a large third-party seller that   Walmart had already refunded the money to
16    Wal-Matt had failed to process three          customers but failed to collect the money back
      thousand (3,000) refund orders. Wal­          from sellers so they had to claw back the
17    Mart looked into the complaint and con­       money from sellers by giving them incentive to
      cluded that there was a coding and sys­       reimburse Walmart the money.
18
      tem error within the Pangaea system that
                                                    Here is a proposed revision to the last para­
19    caused Wal-Mart to serially and system­
                                                    graph.
      atically fail to process ce1tain returns or
20                                                  In short from September 2015 through the dis­
      refund orders from ce1tain third-party
21                                                  covery of the issue in March 2016, Wal-Matt
      sellers since September 8, 2015. In short,
                                                    had failed to process customer returns worth
      Wal-Mart had improperly retained over
22                                                  Millions of dollars which resulted in an over­
      seven million dollars ($7,000,000) that
23                                                  statement of gross merchandise value/sales.
      should have been refunded to third-party
                                                    Additionally, Wal-Mart needed to collect the
      sellers from September 2015 through the
24                                                  customer refunds from sellers as it has already
      discovery of the issue in March 2016.
25                                                  refunded the money to customers

26
27
28
                                                       78
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1              140.      Next, deRube1tis and the other RICO Defendants acted in concert to purpo1t­
2    edly redefine "Marketplace" as Walma1t.com by using the te1m " IP" and "third paity/3P" as
 3
     an "essential appositive" in front of the term "Marketplace".
4
      An a ppositive further expla ins, identifies, or renames a n o u n or
5
      pronoun in a sentence. There are two types of a ppositive
 6
 7                Essential Appositives                                            Nonessential - Use Commas
 8         • When the information an appositive gives
 9
             about a noun is ESSENTIAL, we DON 1            r            • Larry, my roommate obsessed with
             us� commas. (Some people call this restrictive)
                                                                           Where's Waldo books, embarrasses
10         • This year, actor Freddy R-cdmayne won the                     me when we go out in public.
11           Oscar for Best Actor for his portrayal of                                                               ,..'91'!11
             Stephen Hawking in The Theory of
12           Everything.                                                 Tho appo�ltivo phrn o
       '                                                                 provldos va                  ,   1
13     1 Without his namo. wo don't
                                                                       1n!ormaUOn, Wo cov!d ;
         koow which actor wo'ro                                      . movo it a1ovf)d or tako
14     1talking about �auso                                          'it out.
       : "actor' Is .i vory broad,
15     · undofinod noun.
16
       Ask: Does the information g_efine the sub'ec_t or                                         Ooflnltlon Prior to May 2017
17     simply provide extra info about the sub·ecJ?                                    'I    . Ther i only ono M�rk tpt c.0
                                                                                               on W Im,. rt.corn whore third•
                                                                                    I

18                              The MVP soccer player of the frnal game, /                     party (morketplnco) oil -r Ii t
                                Zach Still, celebrated his victory by going /                  th • r product for sales.
19
                                to Disneyland.                               /               • Mark tpl c l s ·ynonym o u s
20                                                                                             wi th Thlrd�P rty/3P.
                              I Yle can a$$ume there was only one MVP                        •                       �Jm nt of
21                               occer player for a p8!fiC{I/Dr semQ, so tho
                                   �clis a_iready �ery s�fic and defined. /
22                                  nan� 1s ext,a information.
                                                                                              Doflnltlon Botwoon May 201 7
                                                                             /'




                                                                          l
                                                                                              _      And Oc,_c 1 3,_201 8
23                                                                                   I


                                                                                  ,'         , Th r __ ro two M r k t p l c •. o n
                                                                                    .I


                                                                                               W l rn rt.corn: a third�party/3P
24                              The soccer star Zach Still celebrated his /                    m., rk tploco and n fir t party/1 P
                                victory by going to Disoe�and.           /                     Mark tploco,
25
                                 ni.ro ""'kl be many so,xersta,s, � ""                       • M rk tplac is not
26                                                                                             synonym ous with Third-Porty.
                                must know tho namo to ful� define the                        • Mork tpl< c Is synonym ous
                                subject of the s�ntence.
                                       ----- .
27
                                                                                         ------------
                                                                                               willl Wolrn rt.corn.
                                                                            ""'"", ...   ,

28
                                                       79
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1           141.    deRubertis used the tenn "third-party/3P" as an essential appositive in an
2    attempt to redefine Walmart Marketplace as Walmart.com. Under this novel approached, Da­
3
     vid deRube1tis defined Walmait Marketplace as having both the First-Party/l P Marketplace
4
     and the Third-Party(3P) Marketplace even though there is only one Marketplace on
5
     Walmart.com. This new definition of Marketplace made McMillan's statements to investors
 6
 7   in FY l 7 no longer misleading because it was perfectly okay to include l P SK.Us in the total

 8   number of Marketplace SK.Us repmted to investors. deRube1iis used the paragraphs below in

 9   the 3/15/18 Complaint in an attempt to create a new definition for Walmart's Marketplace.
10
11      "In this "third-paiiy" or "3P" model, Wal-Mait provides "third-party" sellers the abil­
        ity to offer their products for purchase on Wal-Mart's "third-party" marketplace at
12      Walmart.com, and Wal-Mart then charges a commission to the "third-paiiy" seller
        for each completed sales transaction." deRubertis - FAC DC Dkt. 8 at � 39.
13
        "However, traditionally, "third-party" marketplaces tend to be far more profitable
14
        than a "first-party" online business." deRubertis - FAC DC Dkt. 8 at � 59.
15      "By boosting-up these indirect measures, Wal-Mart paints a picture of E-commerce
16      growth and success (including specifically in the typically more profitable "third
        party" Marketplace) that, in fact, misleads the investing public." deRubertis - FAC
17      DC Dkt. 8 at � 60.
18      "Among other things, and merely by way of example and not by way of limitation,
19      Wal-Mart's online "third-party" Marketplace had items listed such as: "Tranny
        Granny" Costume: An offensive, inappropriate Halloween costume mocking
20      transgender people:" - deRubertis - FAC DC Dkt. 8 at � 67.
21      "The Fiscal Year 2018 Plan set operational targets of ending Fiscal Year 2018 (i.e.,
        February 2018) with twenty thousand (20,000) Marketplace "third-party" sellers."
22
        - deRubertis - FAC DC Dkt. 8 at � 86.
23
        "Mr. Huynh also explained that Wal-Mart had allowed its Marketplace catalogue to
24      be stuffed "with many published SK.Us that are not buyable by customers (non-buya­
        ble published SK.Us are useless for customers)," and noted the extreme disconnect
25
        between this metric on Wal-Mmi's own "first-party" system versus its "third-party"
26      Marketplace." - deRubertis - FAC DC Dkt. 8 at � 101.

27
28
                                              80
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1           142.    After misleadingly altered the original meaning of Walmart's Marketplace,
 2   deRubertis replaced the Marketplace's 01iginal definition with his new definition of Market­
 3
     place to whitewash McMillan's misleading statements.
4
 5    Walmart's usage of the          deRubertis' Usage of the New                  Remarks
      original Marketplace term.      Marketplace term.
 6
      Quick update on Market-         "For example, the same senior        deRubertis whitewashed the
 7    place progress: 16.5 mil-       leader who boasted in early-Oc-      term "Marketplace" in
      lion unique SKUs (up            tober 2016 that the "third-          Beal's email by replacing it
 8
      from 6.2 million at the be-     p arty" Marketplace now had          with the tem1 "third-party"
 9    ginning of the year) - on       two thousand and seventy-four        Marketplace to purportedly
      the site, there are currently   (2,074) and sixteen million five     assert that Marketplace had
10
      19. 7 million unique SKUs       hundred thousand (16,500,000)        approximately 20 Mil SKUs
11    including l P. Beal's Oct       unique SKUs"- deRubertis -           while "third-party" Market-
      2nd 2016 Email.                 FAC DC Dkt. 8 at ,r 66.              place had 1 6.5 Mil SKUs.
12
                                                                           This made McMillan's
13                                                                         statement no longer mis-
                                                                           leading.
14
15
      "Next, we are growing our       In its August 18, 2016 second        Under deRubertis' new defi-
16    marketplace offering at a       quarter FY l 7 earnings call, Wal-   nition of Marketplace,
      strong pace. Since the be-      Mart's Chief Executive Officer       McMillan's statement on
17
      ginning of the year, we've      Doug McMillan reported that          the Q2 FY 17 earning call
18    added about 7 million           Wal-Mart had added seven mil-        was no longer misleading
      new items to the assort-        lion (7,000,000) SKUs to its         because Marketplace now
19
      ment and today offer ap-        Marketplace offerings since the      included both l P Market-
20    proximately 15 million          beginning of the year and now        place SKUs and 3P Market-
      SKUs". McMillan Q2 FY           reached fifteen million              place SKUs.
21
      17 earnings call.               (1 5,000,000) SKUs on its Mar-
22                                    ketplace. DC Dkt. 8 at para-
                                      graph 6 1 .
23
24
25

26
27

28
                                               81
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 1    From a marketplace per-        In its November 18, 2016 third     Under deRubertis' new defi-
      spective, we're scaling fast   quarter FY17 earnings call,        nition of Marketplace, the
 2
      - adding 8 million SK.Us       McMillan began his portion of      statement McMillan made
 3    over the past 3 months         the earnings report highlighting   on Walmart's Q2 FYl 7
      alone. McMillan - Q3 FY        "some recent developments in e-    earnings call was no longer
 4
      17 earnings call on Nov 17,    commerce" including that Wal-      misleading.
 5    2016. 15 million SK.Us         Mart was "scaling fast - adding
      (Q2 FY l 7) + 8 million        8 million SK.Us over the past 3
 6
      SK.Us = 23 million SK.Us.      months alone" within its Mar-
 7                                   ketplace. DC Dkt. 8 at ii 87.

 8
 9
10
            143.    Before filing the complaint, David deRubertis repeatedly asked Huynh to make
11
     sure that McKessy must sent an email directly from his mail box to deRubertis to confirm
12
     that it was okay for deRubertis not to have to file Huynh's complaint under seal. deRubertis'
13

14   true motive for asking this question had nothing to do with whether it was okay to file under

15   seal because deRubertis knew or should have known the answer. deRubertis' trne motive for

16   asking this question was to make sure that McKessy didn't object to the fact that deRubertis'
17   fraudulently took the information in Huynh's SEC complaint and included it to the 70-page
18
     complaint for no rational basis except to whitewash McMillon's misleading statements and to
19
     legitimately leak the information to the Rescue Squad and the Walmart Participants.
20
21
22
23

24
25

26
27
28
                                             82
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 1                                                                                                     From:             fri Hu)'nh <trimhuynh@:ouliook.com>
     from: OJi}lMuttrti1 <��am,:trt:1�w,(�1'J)                                                         Sent:            Frida)', March 9, 20\8 9:29 AM
 2                                                                                                     To:              'SNn X, M,Kmy; 'Rebe<ca. Chang·
     �nl:�t�/,Mar,nll,W!!!S�W�,!
                                                                                                       Cc:              'David deRu�rtis'
 3   lo:1nw�@im1I,om                                                                                   Subject          fW; Huynh: drah of fdct1
     luD)!(t: �f: \'� IlirflrtOifWl.n �JI:�ill                                                         Att�chments:     Comp!aini facts.pd!
 4
 5   �i Tn-Gm it fo, I'm rc1iiin� 10 IOlll/Otir1� oa1co on 1ni1, Al;o, I'm wo�in! on mi�in�            Hi Sranilkcky.
 6   Inc inlcmdl ronlrul illcialioni 1110[/ronmlcdll0 l�tik Haw rou neiro OJ(K liom                    At1ad1ed is the almost finish complaint that we will be Ii ling for the cil'il case.
 7   �ean�eocm al al11 BIii', limin�•Wii(, we are OK filini 1l1e com�lainl a !ell' oa1i liler tnii
                                                                                                       Pka$c review u1c document and kt u · know I) if you arc oka)' with what was said in the doc
     I\W� lo arrommooal� lncir [rl'icw, ct�. ana mah1i me lfiQC (nan�ei �re�� 10 �o. lli
 8                                                        1                                            and 1) that we do NOT need to file this under seal.
     im�rtanl Ina! \I'( gir� Inc rR �[)00 � l�•aour fi� ) ll�OflO 11110 a rnmrl�l(O ura�. �o! I
 9   may�uin liling nol lonmrrow moil lixelr. �UI, 11ill li�drDC Wca�nurwar ·j�I ae�n�I on To: Tri Huynn <trimhu nh outiooK,com>; Rebecca Chang <rchang@Qhillip1andcohen,com>
10   liming ofInc r�moom�r�     fol�i,                                                     Cc; David deRuberlis <david@oerube1ti1law.com>
                                                                                           �ubject: Rf: final Complaint: Need your !eedback
11
                        DJi�if�1Mi1 <01,��0tl'1 · Mi,Ho�>
12                                                                                                    I don't see any rea1on that you would need to from an )tC lnve11igalion/reward perspective.
                        W���1 l,M ll,�1� !WM
13   io',                      "�'ffi�''1( m··
                        l"l'"' !"�1
                                                         from: DaviddeRuberti1 <da�d@deruberti1law.,om>
14   ((:                �&i��                            �enl: Wedne1day, Ma1,h 141 1018 11:Sl PM
      liijirt i[:Hfti'l:rNM�1p1r.�                       lo: �an X, M,Krny <1mtle111@pnillip1andconen,(Om>; Tri H��nn <lrimnuynh@outlool.com>; Rebem Cnang
15
                                                         <rchang@pnillipsanornnen.,om>
16     Why does it have to come directly from McKessy???
                                                         )Ubjed: R[: final Com�!ainl: Neeo your foeobacK
17   AnJ mo11 im�rtim rlt�i irn� t�, 1orilinm1iijn l)tlm ln,m to mi r,: no�� to Iii, unJcr
                                                                                                     TlianKs, ��an. Ju�! wanlco conflnnalion from 1l1o�e wl10 real Ir Kno11· - i.e., )'OU guys!
     lral. rltJII rc n�on l�r �,mil) lo 1�m. Ilt
                    1
18
19
20
                        1 44.         Additionally, by getting McKessy's confinnation, deRubertis could later assert
21
     (if being charged for obstructing the SEC investigation) the "I am incompetence" not "a
22
23   crook" defense i.e., "I didn't know any better because the SEC whistleblower experts told me

24   it was okay to do so". That was the reason why in David deRubertis March 14, 20 1 8 email to

25   McKessy, deRubertis wrote:                                        11   Thanks, Sean. Just wanted confirmation from those who re-
26   ally know - i.e., you guys !
27
28
                                                                                                             83
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 1             Maestros of the Media : "Truth on the Market" Defense - Pinocchio's Style.
 2
            145.    In his 3/11/18 email to Huynh, deRubertis wrote: "It's impotiant that we give
 3
 4   the PR person a 24-hour head's up or so with a completed draft. So, I may push filing not

 5   tomorrow most likely. But, will likely be Wed/Thursday - just depends on timing of the
 6   PR/Bloomberg folks." This proved that the RICO Defendants worked with a PR agency or
 7
     agencies (not yet known at this time) and Matthew Boyle to disseminate Walmaii's factual
 8
     misrepresentations across the Internet and business cable networks to mislead the SEC,
 9
     Walmart's investors, analysts, the Media, and the American Public into believing that
10
11   Walmart did nothing wrong. On the other hand, the RICO Defendants po1irayed Huynh as

12   too "Nutty" (a mentally ill, emotionally out of control employee, and a savage "Vietnamese

13   native" (not trust worthy)) and too slimy (dishonest, disgruntle, and engaged in sexual harass­
14   ment) to be a credible Whistleblower.
15
16          146.    Most importantly the RICO Defendants wanted to prove that there was zero

17   loss causation when Huynh's disclosure came out in public. So, immediately after deRubertis
18   filed the complaint there was massive media coverage although the messages were carefully
19
     controlled (made the disclosures vague when it comes to Walmart's misleading statements re­
20
     garding the Walmart's Marketplace SKU metric while amplified deRubertis' fraudulent $7
21
     Mil customer return figure) to support Walmart's truth on the market defense.
22
23
                              $7 Million - Materiality: Are You Kidding Me?
24
        Matthew Boyle, a Bloomberg News reporter. Mar 15 and 16, 2018 articles. Huynh's
25      remarks are Italicized inside the parentheses.
26
        "The whistle-blower lawsuit, filed in federal comi in San Francisco, claims Walmart
27      issued misleading results (what ldnd of misleading results?). Tri Huynh, a fotmer di­
        rector of business development, claims he was terminated "under false pretenses" after
28      raising concerns (what kind of concerns?) about an "overly aggressive push to show
                                                     84
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 1     meteoric growth (what did Walmart push?) in its e-commerce business by any means
       possible -- even, illegitimate ones."
2
3      "Walmart's systems sometimes failed to label marketplace items in the right product
       category, resulting in some vendors paying higher commissions than they should have
4      (How big was the total amount of commission fees overbilling?".
5      "The company also failed to process customer returns on items totaling more than $7
       million (Walmart used the $7 Mil figure that deRubertis refused to remove per my
 6     request. See above), which resulted in reporting inflated sales the customer return,
       Huynh said."
 7
       Excerpts from Other Reporters ' 3/15/18 Articles Regarding the $7 Mil Figures.
 8
       "Huynh also said Walmart failed to process more than $7 million of customer returns, in­
 9
       flating the total value of merchandise sold from September 20 1 5 to March 20 1 6." Jona­
10     than Stempel and Nandita Bose, Reuters' Reporters - Mar 1 5, 20 1 8/

11      "It refused to accept legitimate returns on over $7 million worth of products. He also
12      claims that Walmart overstated its revenue to "paint an overly-optimistic picture of its cur­
        rent and short-term progress in the catching-up in the e-commerce space." Leticia Mi­
13      randa, Buzzfeed news' reporter - Mar 1 5, 20 1 8.
14
        "Huynh claims that a coding error in Walmart's Pangea system failed to process some re­
15      turn and refund orders between September 20 15 and at the earliest March 201 6 worth
        about $7 million, creating an "inflation" in sales for the period." Kali Hay, WWD.com's
16      reporter.
17
        "The suit, filed this week in N01ihern California federal comi by Tri Huynh, alleges that
18      Walmart has been lowering its standards to boost the size of its online catalogue; mis-cat­
        egorizing some items listed for sale, which can result in overcharging some merchants
19
        who sell through Walmart.com; and failing to process $7 million in returned items." Ja­
20      son Del Rey, Recode's reporter, Mar 1 5, 20 1 8.
21      "Among other things, the lawsuit alleges, Walmart placed some marketplace items in the
22      wrong product categories, causing some vendors to pay higher commissions. It also al­
        leges the company's failure to process customer returns worth $7 million led to inflated
23      ecommerce sales." Mike O'Brien, Multichannel Merchant's rep01ier. Mar 15, 20 1 8.
24
        Huynh also alleged Walmart failed to process $7 million in customer returns - Mar 1 5,
25
        20 1 8
26
27       https://www.cnbc.com/video/20 1 8/03/ 1 5/walmart-drops-on-whistleblower-lawsuit.html
28      https://www.cnbc.com/video/20 1 8/03/ 1 5/walmart-responds-to-whistleblower-lawsuit.html
                                             85
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 1                          Crazy Like a Fox - Too Nutty to Be a Whistleblower
 2
            147.    The RICO Defendants engaged in character assassination by "Nuts & Sluts"
 3
 4   Huynh's in in the public eyes (including attacking Huynh's national origin as a Vietnamese

 5   American, Huynh's ADHD condition, and honesty) to destroy Huynh's credibility for raising

 6   complaints in order to shift the spotlight away from Walmart's illegal conducts and shine it
 7
     the spot light on Huynh instead.
 8

 9          148.    First, the RICO Defendants through their PR agency enticed and/or influenced

10   Jonathan Stempel and Nandita Bose (Reuters' Reporters), and Kali Hay, Total Digital Dis­
11
     play's reporter, to intentionally inserted Huynh's ADHD condition and inflictions in their arti­
12
     cles without any context even though it didn't enhance the editorial value of their article ex­
13
     cept to exploit the American public's stigmatization of people with mental disorders to "Nuts"
14
15   Huynh in the eyes of the public. 29

16
17

18

19
20

21   29 The most powerful weapon in a corporation's arsenal is the exploitation of a whistleblow­
22   ers' mental illness/psychological disorders to delegitimize their complaints. This is an ef­
     fective strategy because it draws on the social stigma associated with people who suffered
23
     from mental illness. Even the smallest hint of mental health issues (Corrigan and Watson
24   2002) would destroy the whistleblowers' reputation, credibility, and livelihood. It is damaging
     at many levels because it can lead to a self-reinforcing cycle; those who experience retaliation
25
     can frequently suffer from a range of health issues, including mental health ones, and often
26   seek counseling at some point in the process. Thus, reactions to whistleblowing by and within
     organizations, including retaliation, can produce negative mental health effects, which are
27
     then used by the organization to discredit the whistle-blower. It is akin to double jeopardy.
28
                                              86
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1
     From:                                           David deRubertis < david@derubertislaw.com>
2    Sent;                                           Sl.lnday, March 1 1 , 2018 8:50 AM
     To:                                             triwyn@grnail.com
                                                     RE: Why Jay Partner with Business?
3    Subject:


 4   H i Tri - Got ii. Yes, I 'm revising to some degree based on this. A lso, I 'm working on rnak ing
     the internal control allegations more concrete and specific. ]Jave you heard back from
 5
     Scan/Rebecca at a l l? BTW, timing�wise > we arc ok fil i ng the complaint a few days later this
 6   week to accommodate their review, etc. and mak i ng sure these changes arc good to go. lt's
     important that we gi ve the PR person a 24-hour he(:1d 's up or so with n completed draft. So, I
 7   may push fi l ing not tomorrow most l ikely. But, wi l l likely be Wed/Thu rsday - just depends on
     timing of the P R/Bloomberg folks.
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 8

 9
       !.:AiKH \5, 2018 I li,38 AM I UPDP.TW 3 'i'F.i-RS ;,GO
      Whistleblower says Walmart, eyeing Amazon,                                                          ���--��-----�---
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                                                                                                                                          -
                                                                                                             ,,,, ,. ..
      cheated on e-commerce                                                              retallated against. He was,c�Ml in to human resources over
10
      By Jonatlrnn rernµeL Nm1dirn Bose                                                                                        '

11
                                                                                  "manufactur��et1exaggerated]" misconduct at two trade shows
       Hum\ 1�id h• 1rJ lh\l ntlt lon aft r raisinI concemr nith C.S. t, mmmdit>f       ,,..,,...
          l itl\\'JS dhmhed u�der the"folse preten: f of:i brt1jderwO'rk!orc� }UC��aswritten·u p and required fO take a course
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12     �!a�c .0r?,Ul                                 .                              ,.
       reduction :ind�lli�td perfoml�JlCc iS$Ui:,                           ;.-"/        i ntelligence/ Total Digital Display By Kali flay on Match 15, 2018
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     (1tentton dehr1t hnier<lctl\'1�· d1 wder.      :,."'              These reporters inserted Huynh's ADHD condition without context
15                                                                     to stigmatize Huynh's reputation not for any editorial value.

16
17                                         You Are Not One of US - Charlie Not Welcomed Here!

18               149.          Second, the RICO Defendants attacked Huynh's national origin as a Vietnam ­
19   ese refugee. Huynh's civil complaint described a beautiful and hopeful American Dream
20   story of a poor 12-year-old refugee boy's journey (without his parents) from Saigon to Har­
21   vard Business School. Instead of highlighting this beautiful and inspiring story, Matthew
22   Boyle, Johnathan Stempel, and Nandita Bose, chose to insert non-essential appositives like
23   "Vietnamese Native" and "Who was born in Vietnam" without any context in their aiiicles.
24   These appositives didn't enhance the editorial values of their articles nor they increased read­
25   ers' appeals. The only reason these reporters inserted these appositives in their articles was to
26   exploit the American Public's unconscious bias against Vietnamese people based on Holly-
27
28
                                                                87
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 1   wood's stereotypical portrayal of Vietnamese people in Vietnam War movies to vilify and de­

 2   humanize Huynh and the Vietnamese people.

 3   Inslcau of relclling a "beautiful" Amcl'ican success story about a Viclnnmcse rcfu 0cc \\ ho ovrrcame adversity to
     graduate from mrvanl HusinC'ss Sc:hool, llt<'S<' reporters intentionally maligned Huynh nnd his pc·opk.
 4
                          First Amended Complaint
 5         31. Tri Jluynh was born in Vietnam to parent· who rdded in Long Xuycn                l-1ARCK 15, 2018 / ll:38 AM / UPDATED 3 YEARS AGO
 6   South Vk�!Jl; l!.[l1�1�)W •old. Tri Huynh wa ¢parated from his par¢nt and                  Whistleb!ower says Wa!mart, eyeing Amazon,
 7
         I' .,.                    ...

     se�o a rdugec camp in Tua�� with his aunt and two cou ·ins. Jn 19 0, Tri
                                                                                                cheated on e-commerce
            ,   ...........
                          �- ""'
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                                                                                                By Jonathan temµel. �ilmllta Bose
 8   l luynh wa · .pon orcJ by hi · aunt' daughter 11ho had previously immigrated to the                      __ - ...
                                                                                                 t,� .pbii�u.11fo 11sas Nm in \'iewJi11 mfii1� in W1i3nin·rion �we, ,3:J \\'a\m1r
 9   Unik'd Siatcs right afier the foll of Saigon to come to America. lie lhus kll                         ... ... .. ... ... _ .......... ..
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     Thaibnd and made hi· 11.iy to New York.
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                                                                                                                        r· rting' and intl•rnal <t1niflll1�',
11         3J. Tri fluynh family wanted him (o immigrale to the United Stale$ for                                                                               ,

12   th� same rca-on a_ .o many other Anrrican immigrants. Their country was torn               Walmart Whistle-Blower Claims Che'ctt�g in
                                                                                                Race With Amazon          N o n -es;'entia l
     apart by civil unr�st and Am�rica promi \'d a brighter fu1ur�. Gratcl11l for th�           By Mallhew Boy�
13                                                                                                                                                  Appositives
                                                                                  March �j�Q_lQ� t�PDT ...... ..,. ... ... ...
                                 .,,,. - -- - -------
     opportunities 1ha1 America pr,,mi ·ed, Tri Huynh worxcd hard lo achim th�

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14
                                                         --                       ��lh,
                                                                                     --.... a native ofVietnam1 �Walmart in 20!� from Amazon. Ile
15
16
                       �-------- -�� - - --
            J4. Tri I lu)11h s�nl his !ccnagc )WS in�� inner city neighborh�j,o'�
                                                                                  daim he"i;riiealiissi,pedor and the company's ethic· department that if
     Quw(1i;;1ing to master tlic Engli1h la�ua�!k Huynh slill gradua!ed nl'ar "Walman did not properly address these issues its failure to do so could
              ... ...                           ,.,,,.
17   !he top ofl1is h;hsctJcTisr ITeiii; ;nt on lo oblain a Bachdor s of
                                                                   1              ha\'e seriou · long-term implication for its criticallr imponant e-commerce
                                                                                                bttsiness:·
18   Engineering (U.E.) in Elcdrical E11gineering1 a �laslers of Science (�I.S.) in
                                                                                           <;Huynh, n nafh•c of Vietnam, joined Wal mart in 20 1 4 from
19   Manufac111nng Engineering from New Yor� Unircf'ity • Polytl-.:hnic School of          Amazon. He claim. he warned hi. superiors and the company's
                                                                                           ethics <lepHrtment that if "\Va lnwrt did not properly nddr�ss th�se
20   Engineering and a Mailer of llu'ine" Admini ·1ration NB.A.) ll'i!li a focus on
                                  .,,. - --""'-----   ._,
                                                                                           issue , it failure to do so could have serious long-tenn
21
                                   ��-.. -- -- -
     Slrnlcgy and Finance fr�Harrnd Bt�inc Scnoop                                          implications for its critical ly important e-commerce business.''
                                                       .




                                                                                           Material Handling & Logistic - 3/ 1 6/1 8
22
23
           See RACISM AT THE MOVIES: VIETNAM WAR FILMS, 1968-2002 at
24         https://scholmworks.uvm.edu/ce:i/viewcontent.cgi?article= 1 1 80&context= graddis
25          •       The stereotype of Asian women as prostitutes stems from the days of Chinese immi­
26                  gration and the Page Act when women were barred out of the fear, they were all pros­
                    titutes. Vietnam War films, if they have women at all, often show them in this role.
27
                    For example, a scene in the movie "Full Metal Jacket ( 1 987)" portrayed Vietnamese
28                  women as prostitutes and Vietnamese men as pimps. Remembered that infamous line
                                                                                               88
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1             "Me so horny, Me love you long time." in the movie. This phrase became a pop cul­
              ture phenomenon in America. There was rap song titled "Me So Horny" that reached
2
              number 1 on the U.S. Billboard Hot Rap Tracks chart. https://en.wikipe­
3             dia.org/wiki/Me So Horny
4     •       Much has been said about the way the Vietnamese have been represented, from the
              stereotypes of corrupted officials to inept and effeminate waniors in the South Viet­
5
              namese army, invisible and/or superhuman and/or barbaric warriors in the North Vi­
 6            etnamese Anny and Viet Cong, prostitutes, and simple-minded, backwards peasants.
 7    •       The corrupt official and inept/effeminate wanior are most often applied to the South
              Vietnamese ally, as in The Green Berets (1968) and Hearts and Minds (1974). The
 8
              various stereotypes of the enemy can be found in virtually every Vietnam War film,
 9            from the vicious Viet Cong in The Green Berets to the wraith-like jungle fighters in
              Platoon (1986).
10
11
       •      Acts of the enemy "proved" their barbaric nature: they killed innocent villagers,
              raped children, mutilated American bodies, and shot to wound, not kill, in films
12            like The Green Berets, Platoon and Full Metal Jacket
13
14                                              Moral Turpitudes
15
              150.    Third, the RICO Defendants attacked Huynh's moral turpitudes (dishonesty,
16
     self-serving, and disgruntle) while eulogizing Walmart's as a faultless and honest.
17
18         Walmart spokesman Randy Hargrove said the litigation is based on allegations by a dis­
19         gruntled former employee, who was let go when the business was restructured. "We take
           allegations like this seriously and looked into them when they were brought to our atten­
20         tion," he said. "The investigation found nothing to suggest that the company acted im­
21         properly. Reuters' Reporters: Jonathan Stempel and Nandita Bose - Mar 15, 2018.
           Walmart told BuzzFeed News that "this litigation is based on allegations by a disgruntled
22
           former associate, who was let go as part of an overall restructuring." "We take allegations
23         like this seriously and looked into them when they were brought to our attention," said the
           company. "The investigation found nothing to suggest that the company acted improperly.
24
           We intend to vigorously defend the company against these claims. Leticia Miranda Mar
25         15, 2018.

26         "The claims come from "a disgruntled fmmer associate," who was let go as part of a
           broader workforce restructuring, said Greg Hitt, a Walmart spokesman. "We take alle­
27         gations like this seriously and looked into them when they were brought to our atten­
28         tion," Hitt said. "The investigation found nothing to suggest that the company acted
                                                         89
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 1      improperly." The Seattle Time on 3/15/18.
 2      "This litigation is based on allegations by a disgruntled former associate, who was let
        go as part of an overall restructuring," said a Walmart spokesperson in a statement
 3
        emailed to Investor's Business Daily. ':_We take allegations like this seriously and
 4      looked into them when they were brought to our attention. The investigation found
        nothing to suggest that the company acted improperly. We intend to vigorously defend
 5
        the company against these claims." Elaine Low - Investor's Business Daily 3/15/18.
 6      "Walmart in a statement to CNBC said that it intends to "vigorously defend" itself
 7      against these claims. "This litigation is based on allegations by a disgruntled fom1er
        associate, who was let go as part of an overall restructuring," Walmart said. "We take
 8      allegations like this seriously and looked into them when they were brought to our at­
 9      tention. The investigation found nothing to suggest that the company acted improp­
        erly." Lauren Thomas, CNBC, on 3/15/18.
10
        "Walmart denied Huynh's claims in an email to Courthouse News on Thursday after­
11      noon. "This litigation is based on allegations by a disgruntled former associate, who
        was let go as part of an overall restructuring," the company said. "We take allegations
12
        like this seriously and looked into them when they were brought to our attention. The
13      investigation found nothing to suggest that the company acted improperly. We intend
        to vigorously defend the company against these claims." Court House News --MAT­
14
        THEW RENDA, A.E. YOUNG I March 1 5 , 20 1 8
15
        Walmart said Huynh's allegations lack merit. "This litigation is based on allegations by
16      a disgruntled fom1er associate, who was let go as part of an overall restructuring,"
        spokesman Greg Hitt said in a corporate statement. "We take allegations like this seri­
17
        ously and looked into them when they were brought to our attention. The investigation
18      found nothing to suggest that the company acted improperly. We intend to vigorously
        defend the company against these claims." Kevin McCoy - USA TODAY 3 /15/18.
19
        In a statement to Retail Dive, Walmart said it followed up with claims made by Tri
20      Huynh, a fonner director of business development, and that he was laid off along with
21      many others. "This litigation is based on allegations by a disgruntled former associate,
        who was let go as part of an overall restructuring," according to Walmart's statement.
22      "We take allegations like this seriously and looked into them when they were brought
23      to our attention. The investigation found nothing to suggest that the company acted
        improperly. We intend to vigorously defend the company against these claims."
24      Daphne Howland - Retail Dive 3/16/18.
25      Randy Hargrove, a spokesperson for Walmart, told Dailymail.com that the allegations
        come from a 'disgruntled former employee' who was let go due to the restructuring
26
        of the company. He said an investigation looked into the allegations made by Huynh
27      and found nothing to suggest the company acted improperly. By DANIELLE ZOELL­
        NER FOR DAILYMAIL.COM 3/18/18.
28
                                             90
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1      Walmart told Talk Business & Politics that Huynh is a disgruntled fonner employee
       and the allegations are untrue. The company provided the following statement: "This
2
       litigation is based on allegations by a disgruntled fonner associate, who was let go as
3      part of an overall restructuring. We take allegations like this seriously and looked into
       them when they were brought to our attention. The investigation found nothing to sug­
4
       gest that the company acted improperly. We intend to vigorously defend the company
5      against these claims." Kim Souza -Talk Business & Politics - 3/15/18.
 6      "This litigation is based on allegations by a disgruntled fonner associate, who was let
       go as part of an overall restructuring," a Walmart rep tells Recode. "We take allegations
 7
       like this seriously and looked into them when they were brought to our attention. The
 8     investigation found nothing to suggest that the company acted improperly. We intend
       to vigorously defend the company against these claims." By Jason Del Rey- Re­
 9     code/VOX on 3/15/18.
10     Walmart spokesman Randy Hargrove said the complaint is "based on allegations by a
11     disgruntled f01mer associate" who was let go as part of the company's overall restruc­
       turing in early 2017. "We take allegations like this seriously and looked into them when
12     they were brought to our attention," Hargrove said in a statement. "The investigation
13     found nothing to suggest that the company acted improperly. We intend to vigorously
       defend the company against these claims." Northwest Arkansas Democrat Gazette
14     3/16/18.
15      But Walmart is calling foul. A company spokesman said Huynh's allegations are those
       of "a disgruntled fonner associate, who was let go as part of an overall restructuring."
16
       "We take allegations like this seriously and looked into them when they were brought
17     to our attention," the spokesman added. "The investigation found nothing to suggest
       that the company acted improperly. We intend to vigorously defend the company
18
       against these claims." WWD.com Kali Hay on March 15, 2018
19
       Walmart has denied the allegations and said they were made by a "disgruntled former
20     associate, who was let go as part of an overall restructuring," according to company
       spokesperson Randy Hargrove. "We take allegations like this seriously and looked into
21     them when they were brought to our attention," he said in a statement to TheStreet.
22     "The investigation found nothing to suggest that the company acted improperly. We
       intend to vigorously defend the company against these claims." Thestreet.com - Cath­
23     leen Chen - 3/15/18.
24     "This litigation is based on allegations by a disgruntled former associate who was let
25     go as part of an overall restructuring," said Walmart spokesman Randy Hargrove. "We
       take allegations like this seriously and looked into them when they were brought to our
26     attention. The investigation found nothing to suggest that the company acted improp­
27     erly. We intend to vigorously defend the company against these claims." Multichannel
       Merchant - Mike O'Brien- 3/15/18.
28
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1                           Zero Loss Causation Informercial and Boyle's Beautiful Chart
2
               151.        Fourth, one day after deRube1iis filed Huynh's complaint, the RICO Defend-
3
     ants pulled together a beautiful informercial which Matthew Boyle published on 3/16/18 to
4
     execute Walmart's "Truth on the Market" Offense. On the one hand, the informercial in-
5
 6   eluded testimonies from "industry experts", "professors", and "hedge fund managers" to

7    downplay the materiality of Huynh's allegations. While on the other hand, the Boyle dissemi­
8    nated the RICO Defendants' p01irayal of Huynh as a disgruntle and dishonest former em­
9
     ployee in order to destroy Huynh's credibility to asse1i Walmart's "Truth on the Market De-
10
     fense".
11
12      https://www.bloomberg.com/news/articles/2018-03-16/walmart-whistle-blower-suit-re­
        news-jitters-about-amazon-battle
13
        https ://www.bloomberg.com/news/videos/2018-03-16/walmart-whistle-blower-claims­
14      retailer-cheated-to-catch-amazon-video (also see Matthew Boyle's 5 minutes interview on
15      Bloomberg Network).
        B us i n ess
16      Wal mart Whistle-Blower Suit Renews
17      Fears About Amazon Battle
        By Matthew Boyle. -e Follow
18      March 16, 2018, 2,00 AM PDT Updated on March 16, 2018, 7'48 AM PDT


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20
        The reaction to a whistle-blower's allegations of improprieties at Walmart Inc.'s online
21      business was sharp. The stock suffered its worst intraday decline in two weeks, showing
22      just how deep the worries are over the company's growth engine.
        The shares bounced back before the market closed on Thursday and rose on Friday.
23
        But the abrupt, initial dip was enough to signal once again that, when it comes to the bid
24      to catch up with Amazon.com Inc. in e-commerce, the world's largest retailer has little
        margin for error.
25
        The claims of cheating leveled Thursday by a former executive "could be an alarm -- but
26
        minor," said Sucharita Kodali, an analyst at Fonester Research Inc. "If it turns out that
27      Walmart completely fabricated online numbers and they are way smaller than reported,
        that would be a problem. There's no indication of that yet."
28
                                                              92
                                   COMPLAINT - DEMAND FOR JURY TRIAL
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1      The whistle-blower lawsuit, filed in federal comt in San Francisco, claims Walmart issued
       misleading results. Tri Huynh, a former director of business development, claims he was
2
       terminated "under false pretenses" after raising concerns about an "overly aggressive push
3      to show meteoric growth in its e-commerce business by any means possible -- even, ille­
       gitimate ones." Huynh claims the company failed to process customer returns, mislabeled
4
       some products and, basically, painted a rosier picture of its online growth than what was
5      really the case.
6                                     'Disgruntled Former Associate'

7      Walmart said it investigated the allegations and found they had no merit. Greg Hitt, a
       company spokesman, called Huynh "a disgruntled fom1er associate."
8
        Over the past three years, Walmart has spent billions to revitalize its once-moribund web
9       unit, expanding delivery options, hiring fresh talent and making acquisitions. While sales
        soared last year, the spending has taken a toll on profitability. When the company reported
10
        slowing online growth and disappointing margins during the critical holiday qua1ter, in­
11      vestors pummeled the stock. And the business could bleed even more red ink this year,
        Chief Executive Officer Doug McMillan said last month.
12
        "The marketplace is very receptive to any story that's negative about anyone going up
13
        against Amazon," Scott Galloway, a marketing professor at NYU, said on Bloomberg TV.
14     However, they play out, the allegations are an additional headache for Marc Lore, the
15     head of Walmait's U.S. e-commerce business, who's trying to take the website upscale
       with new apparel, home decor items and a partnership with the Lord & Taylor depart­
16     ment store. Walmart has said it will focus more of its marketing spending on
17     Walmart.com and less on Jct.com (to conceal the facts that Walmart artificially inflated
       its Quarterly Ecommerce Sales growth in FY18 to inflate Walmart's Market Cap by
18     roughly $140 Bil), the urban-focused startup that Lore co-founded in 2014 and sold to
19     Walmart in 2016. That will hamper growth at Jet, which focuses on younger, more afflu­
       ent customers.
20
        Still, Walmart has maintained its growth forecast for the online unit. One bright spot has
21      been the online grocery business. Walmart's existing fresh-food supply chain gives it an
22      advantage over Amazon, which, despite its acquisition of Whole Foods Market Inc., is
        still better at selling batteries than bananas.
23
        Walmart said this week that it will expand home delive1y of groceries to 100 metro areas
24      this year. It has 1,200 stores where customers can pull up and have their orders brought to
        their cars.
25
        "Online grocery pickup is going very well for them," said Laura Kennedy, an analyst at
26      Kantar Retail LLC.
27      The lawsuit, along with slowing growth, could prompt increased scrutiny of all aspects of
28
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                            COMPLAINT - DEMAND FOR JURY TRIAL
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 1      Walmart's online business. It shows that even a retailing behemoth can experience grow­
        mg pams.
 2
        "They are going at 100 miles an hour here," said Mark Stoeckle, CEO of Adams Funds,
 3
        which has $2.4 billion under management and holds Walmart shares. "Was it intention­
 4      ally deceptive? Or is it that the proper controls were not in place? From our perspective,
        this could be something. But based on what we know currently, it isn't something right
 5
        now."
 6                 (Updates with professor and investor comments b eginning in eighth paragraph.)
 7
                                                                                                                         Zero Loss Causation
 8
       Walmart Investors React
 9     News of a whist\e .. blower lawsuit led to a decline in Walmart shares
10
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20                10:00                                     11:00                                     12:00                         13:00                                                  14:00   15:00
                                                                                                                             15 Mar 2018
21     Source: Btoombl!rg                                                                                                                                                                                  Bloomberg l!l!l

22                  1 52.                  Lastly, the RICO Defendants through their Maestros of the media pushed their
23
     factual misrepresentation across the globe to once and for all deceived the SEC and/or DOJ,
24
     and Walmart's investors to conceal Walmart's $ 1 40 Bil fraud against Walmart's shareholders.
25
26      https://www.bloomberg.com/news/articles/2018-03- 1 6/walmart-whistle-blower-suit-re­
        news-jitters-about-amazon-battle
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1      https://www.bloomberg.com/news/videos/2018-03-16/walmart-whistle-blower-claims­
       retailer-cheated-to-catch-amazon-video
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        https ://www.cnbc.com/video/2018/03/15/walmart-drops-on-whistleblower-lawsu it.html
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        https://www.cnbc.com/video/2018/03/15/walmart-responds-to-whistleblower-lawsuit.html
4      https://www.investors.com/news/former-walmart-exec-sues-alleging-illegitimate-e­
5      commerce-efforts/
       https://www.cnbc.com/2018/03/15/walmart-sued-by-former-executive-alleging-unlaw­
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       ful-conduct-in-e-commerce-business.html
 7     https://www.ft.com/content/3bf2df42-2893-11e8-b27e-cc62a39d57a0
 8     https://www.businessinsider.in/Walmart-dives-after-lawsuit-alleges-company-issued­
       misleading-e-commerce-results/articleshow/63323305.cms
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       https://www.businessinsider.eom.au/walmart-stock-price-dives-after-whistleblower­
10     says-company-issued-misleading-e-comerce-results-2018-3
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       suit-alleges-14525430
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       https://www.vox.com/2018/3/ l 5/17126498/walmart-whistleblower-lawsuit-tri-huynh­
13     ecommerce
14     https://www.seattletimes.com/business/retail/whistle-blower-claims-walmart-cheated­
       in-race-with-amazon/
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       https ://www.usatoday.com/story/money/2018/03/15/whistleblower-charges-walmart­
16     misled-e-commerce-data-catch-up-race-amazon/429922002/
17     https ://nypost.com/2018/03/15/walmart-retaliated-against-whistleblower-suit/
18      https ://www.dailymail.eo.uk/news/aiticle-5515221 /Walmart-whistleblower-sues-com­
        pany-fired.html
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       https://multichannelmerchant.com/ecommerce/walmart-whistleblower-claims-ecom­
20     merce-results-overstated/
21     https://www.comthousenews.com/walmart-faces-whistleblower-suit-over-its-e-com­
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       https :/ /vinnews.com/2018/03/15/san-francisco-whistleblower-says-walmart-eyeing­
23     amazon-cheated-on-e-commerce/
24     https ://www.mhlnews.com/technology-automation/arti cle/22054902/walmart-whistle­
       blower-claims-cheating-in-race-with-amazon
25
       https ://www.retaildive.com/news/whistleblower-alleges-walmart-inflated-digital­
26     sales/519302/
27     https ://talkbusiness.net/2018/03/whistleblower-claims-walmart-inflated-e-commerce­
       reporting/
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1        https ://www.nwaonline.com/news/20 1 8/mar/16/fired-for-noting-net-sales-fibs­
         walmart/
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         https://wwd.com/business-news/legal/fired-walmart-exec-alleges-online-fraud-stem­
3        ming-from-amazon-rivalry- 12026299 8 1/
4
              153 .   A month later, Matthew Boyle published an article about slower Walmart's
 5
     Marketplace seller growth for two purposes. First, the article purportedly showed that
 6
     Walmart focused on seller quality independent of Huynh's allegations (linking back to
 7
     Boyle's Mar 15 and 16, 20 18 articles). Second, most important, purportedly implied a correla­
 8
 9   tion between slower Q4 FYl 7 Ecommerce sales growth and the pace of Marketplace's seller

10   addition to coverup the fact that Walmart's senior executives artificially inflated Walmart's
11   Ecommerce sales growth in FY 18 by improperly accounting for Jet.com FY l 7 and FY 1 8
12
     sales.
13
14       https ://www.bloomberg.com/news/articles/20 1 8-04- 1 0/walmart-gets-more-selective-with­
         web-sellers-after-growth-spurt
15
        Tech nology
16      W'almart Is Getting Picky About Online
        Marketplace Sellers
17      By Matthew Boyk + Foltov,1
        April 10, 201B, 3,00 AM PDT

18
19       The retailer's website --where third-paiiy vendors sell their own wares -- is adding far
20       fewer sellers a month compared with a year ago, according to data tracker Marketplace
         Pulse. The site, which Walmart created in 2009 to compete with a similar offering from
21       Amazon.com fuc., now includes about 18,000 sellers.

22                                            Seller Shortfall
23       The growth of vendors selling on Walmmi's marketplace site has slowed in recent months.
         The slowdown mirrors a deceleration in growth at Walmart's e-commerce b usiness
24       last quarter, which spooked shareholders and renewed concerns about the investments
25       Walmart is making to catch up with Amazon, such as its recent expansion of grocery
         home delivery to 100 markets. It also comes amid a whistle-blower lawsuit from a former
26       marketplace executive. He claims he was fired after raising concerns about the com­
         pany's "overly aggressive push to show meteoric growth in its e-commerce business by
27       any means possible -- even, illegitimate ones."
28
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                              COMPLAINT - DEMAND FOR JURY TRIAL
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 1
 2      "Since November they appear to have reduced the number of sellers they approve," said
        Juozas Kaziukenas, founder of Marketplace Pulse. "Most U.S. marketplaces are adding
 3
        thousands of sellers a day, so Walmart is doing the opposite by trying to manage it."
 4
        Walmart's U. S. e-commerce business generated $11.5 billion in revenue last year, and
 5      should do about $16 billion this year, but the company doesn't disclose how much of that
        business comes from the third-party site. It has doubled the number of products available
 6      online over the past year to almost 75 million.
 7      "We're focused on adding the best items our customers want from the best sellers," said
        Ravi Jariwala, a spokesman for Walmart. "In any given month, the number of new Mar­
 8
        ketplace sellers added to our platform may fluctuate as we continuously add new items
 9      and offer customers an expanding range of choices."

10                       Gibson Dunn Attempted to Use the "Kill Step" on Huynh

11
            154.    In early July 2018, Huynh notified deRubertis that the SEC opened an official
12
     investigation into Walmart's fraudulent conducts. See DC Dkt. 158-12. A short time later,
13
     Huynh received a strange message on Linkedln from an individual named Robyn Lahlein who
14
15   purportedly claimed that she was fired from Walmaii after raising an ethics complaint.

16
        Something in common
17
18      Hi Tri - I hope this finds you well. Confidentially, I was just fired from Walmart for
        raising ethics complaints too and also worked in ecommerce. I know you can't talk about
19      your case, but can I ask a few questions?
20
        Did going to the press help or hurt you?
21
        Who at Walmart legal did you go to? (I'm trying to figure that out with my atty) Anything
22      else you think might be helpful as I navigate this, I'd be very grateful and I will keep in
23      the utmost confidence. If you'd prefer to speak, my number is 917-:XXX-XXXX.

24      Thank you so much and I wish you the best of luck.

25          155.   Lahlein's leading questions above (most like drafted by the Rescue Squad) at­
26
     tempted to trap Huynh to admit that deRubertis went to the press before filing the complaint
27
     in Mar 2018. Whether, Huynh answered "Yes" or "No" to the question is irrelevant because
28
                                             97
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1    it still proved that deRubertis went to the press. If Huynh had responded to Lahlein's leading
2    questions, the RICO Defendants would have used it as an excuse to get District Judge Vince
3
     Chabbria to dismiss Huynh's case against Walmart with prejudice then forced Huynh to im­
4
     mediately tum over the content of his personal hard drive which contained info1mation that
5
     implicated Walmart for committing fraud against shareholders (effectuating the "Catch &
6
7    Kill" prong, very beneficial to Walmart during an SEC investigation). See Tides v. The Boe­

 8   ing Co., 644 F.3d 809, 816-17 (9th Cir. 2011) (leaks to the media is not protected under

 9   SOX). Coincidentally, the Ninth Circuit merit panel cited the very same SOX case (although
10
     it was cited in the context of proving pretext) to deny Huynh's amended appeal against
11
     Walmart.
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22               156.                 Huynh expressed the concerns above to deRubertis regarding Walmart's fish­

23   ing expedition via email. Huynh told deRubertis that Huynh didn't want to share the newly
24
     discovered evidence which Huynh submitted to the SEC which proved that Walmart's execu­
25
     tive intentionally ordered Walmart's technical team to stuff Walmart's Marketplace with low
26
     value and/or quality items from sellers in order to inflate the total number of SKUs on
27
     Walmart's Marketplace.
28
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                                                               COMPLAINT - DEMAND FOR JURY TRIAL
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22                    1 57.           Typical deRubertis' Modus Operandi when he didn't want to leave any paper
23
     trails behind, he either 1) ignore Huynh's email all together or 2) call Huynh via phone in­
24
     stead of responding to Huynh via email. deRubertis called Huynh to purportedly address
25
     Huynh's concerns about turning over the information Huynh submitted to the SEC. During
26
     the call Huynh asked deRubertis whether it was illegal for Walmart to ask their employee to
27
28   trap Huynh into saying that deRubertis went to the Media. Instead of being angry at Walmart
                                                                                                                99
                                                               COMPLAINT - DEMAND FOR JURY TRIAL
     Case 3:22-cv-00142-JSC Document 1 Filed 01/10/22 Page 100 of 100




 1   for contacting his client directly, deRubertis brnshed aside Huynh's concerns by providing an
2    elusively answer "It depends". Subsequently, David deRubertis ordered Huynh to produce all
 3
     newly discovered evidence of Walmart's illegal conducts to Walmart. deRubertis purp01tedly
 4
     claimed that Huynh is required to do so by laws.
 5
 6          158.    Shortly after the SEC started their investigation into Huynh's complaint
 7
     against Walmait, Walma1t's executives stop disclosed Walmart's SKU metric all together.
 8
       Walmart Stopped Reporting the SKU M etric Shortly After the SEC Started to Investigate Wal mart.
 9
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                   1'• 1.rrkctplncc- Stntlcµ.y
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15          30                                                                                         Walrnar1, Walmart stopped
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23          159.    Doug McMillon also attempted to whitewash his previous misleading state­
24   ments to investors in FY I 7 by replacing the term "Marketplace" with "Walmart.com" during
25
     Walmart's 2018 Annual Meeting with the Investment Communities on Oct 16, 2018 by stat­
26
     ing in his PPT presentation that Walmart.com had 8 Mil SK.Us and 20 Mil SK.Us in in Jan and
27
     Oct 2016 respectively (2 years earlier McMillion reported to investors that Marketplace had 8
28
                                                 100
                                 COMPLAINT - DEMAND FOR JURY TRIAL
